                         UNITED STATES BANKRUPTCY COURT




Case Number:

SPECIFIC NOTES REGARDING SCHEDULE EF




     Case: 19-30088   Doc# 900   Filed: 03/14/19   Entered: 03/14/19 22:42:10   Page 1 of
                                             61
PG&E Corporation                                                                                           Case Number:          19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
      Part 1:       List All Creditors with PRIORITY Unsecured Claims

1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.
             Yes. Go to line 2.
2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor
      has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 Creditor's Name, Mailing Address Including          Date Claim Was Incurred And       C U     D      Offset      Total Claim      Priority Amount
 Zip Code                                                  Account Number

Employee Wages

2.1        ALAN GOODRICH                                       VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.2        CHRISTOPHER A. FOSTER                               VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.3        JANET C LODUCA                                      VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.4        JASON P WELLS                                       VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.5        JOANNE MACHADO-ALMARIO                              VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.6        JOHN R SIMON                                        VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.7        JULIE M KANE                                        VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.8        JUSTIN MICHAEL TOMLJANOVIC                          VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE

2.9        KATHERINE K DAVIS                                   VARIOUS                                         UNDETERMINED UNDETERMINED
           CONFIDENTIAL - AVAILABLE UPON
           REQUEST                                       ACCOUNT NO.: NOT
                                                            AVAILABLE




                                                        Page 1 of 60 to Schedule E/F Part 1

           Case: 19-30088             Doc# 900          Filed: 03/14/19          Entered: 03/14/19 22:42:10                  Page 2 of
                                                                    61
PG&E Corporation                                                                               Case Number:      19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Employee Wages

2.10    SAM WAI SILVIA CHOI                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CONFIDENTIAL - AVAILABLE UPON
        REQUEST                                ACCOUNT NO.: NOT
                                                  AVAILABLE

2.11    SOO-LING YOUNGBLOOD                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CONFIDENTIAL - AVAILABLE UPON
        REQUEST                                ACCOUNT NO.: NOT
                                                  AVAILABLE

                                                                       Employee Wages Total:      UNDETERMINED UNDETERMINED




                                               Page 2 of 60 to Schedule E/F Part 1

       Case: 19-30088           Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 3 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.12    ACCOUNTING OFFICE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        OCCUPATIONAL SAFE
        HEALTH DEPARTMENT OF                   ACCOUNT NO.: NOT
        INDUSTRIAL                                AVAILABLE
        PO BOX 420603
        SAN FRANCISCO, CA 94142

2.13    ALAMEDA COUNTY TAX                           VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        1221 OAK STREET, ROOM 131              ACCOUNT NO.: NOT
        OAKLAND, CA 94612-4287                    AVAILABLE

2.14    ALASKA GAS EXPLORATION                       VARIOUS                                      UNDETERMINED UNDETERMINED
        ASSOCIATES
        DEPARTMENT OF THE TREASURY             ACCOUNT NO.: NOT
        INTERNAL REVENUE SERVICE                  AVAILABLE
        CENTER
        OGDEN, UT 84201

2.15    ALPINE COUNTY TAX COLLECTOR                  VARIOUS                                      UNDETERMINED UNDETERMINED
        P.O. BOX 217
        MARKLEEVILLE, CA 96120-0217            ACCOUNT NO.: NOT
                                                  AVAILABLE

2.16    AMADOR COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL HEALTH
        810 COURT ST                           ACCOUNT NO.: NOT
        JACKSON, CA 95642                         AVAILABLE

2.17    AMADOR COUNTY CHAMBER OF                     VARIOUS                                      UNDETERMINED UNDETERMINED
        COMMERCE
        115 MAIN ST                            ACCOUNT NO.: NOT
        JACKSON, CA 95642                         AVAILABLE

2.18    BUTTE COUNTY                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        ATTN PUBLIC WORKS DEPT
        7 COUNTY CENTER DR                     ACCOUNT NO.: NOT
        OROVILLE, CA 95965                        AVAILABLE

2.19    BUTTE COUNTY                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        25 COUNTY CENTER DR
        OROVILLE, CA 95965                     ACCOUNT NO.: NOT
                                                  AVAILABLE

2.20    CALAVERAS COUNTY                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF PUBLIC WORKS
        891 MOUNTAIN RANCH RD                  ACCOUNT NO.: NOT
        SAN ANDREAS, CA 95249-9709                AVAILABLE

2.21    CALAVERAS COUNTY AIR                         VARIOUS                                      UNDETERMINED UNDETERMINED
        POLUTION
        CONTROL DISTRICT                       ACCOUNT NO.: NOT
        891 MOUNTAIN RANCH RD                     AVAILABLE
        SAN ANDREAS, CA 95249-9713



                                               Page 3 of 60 to Schedule E/F Part 1

       Case: 19-30088           Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 4 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.22    CALAVERAS COUNTY                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL
        HEALTH                                 ACCOUNT NO.: NOT
        891 MOUNTAIN RAN RD                       AVAILABLE
        SAN ANDREAS, CA 95249

2.23    CALIFORNIA DEPARTMENT OF TAX                 VARIOUS                                      UNDETERMINED UNDETERMINED
        AND FEE ADMINISTRATION
        PO BOX 942879                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94279                      AVAILABLE

2.24    CALIFORNIA DEPARTMENT OF TAX                 VARIOUS                                      UNDETERMINED UNDETERMINED
        AND
        FEE ADMINISTRATION                     ACCOUNT NO.: NOT
        PO BOX 942879                             AVAILABLE
        SACRAMENTO, CA 94279

2.25    CALIFORNIA PUBLIC UTILITIES                  VARIOUS                                      UNDETERMINED UNDETERMINED
        COMISSION
        505 VAN NESS AVENUE                    ACCOUNT NO.: NOT
        SAN FRANCISCO, CA 94102                   AVAILABLE

2.27    CITY & COUNTY OF SAN                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCISCO
        TAX COLLECTOR                          ACCOUNT NO.: NOT
        PO BOX 7425                               AVAILABLE
        SAN FRANCISCO, CA 94120-7425

2.26    CITY & COUNTY OF SAN                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCISCO
        SF PUBLIC UTILITIES COMMISSION         ACCOUNT NO.: NOT
        525 GOLDEN GATE AVE                       AVAILABLE
        SAN FRANCISCO, CA 94102

2.29    CITY & COUNTY OF SAN                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCISCO
        SFMTA / PARKING & TRAFFIC              ACCOUNT NO.: NOT
        ONE S VAN NESS AVE 7TH FL                 AVAILABLE
        SAN FRANCISCO, CA 94103

2.28    CITY & COUNTY OF SAN                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCISCO
        TAX COLLECTOR                          ACCOUNT NO.: NOT
        PO BOX 7426                               AVAILABLE
        SAN FRANCISCO, CA 94120-7426

2.30    CITY & COUNTY SAN FRANCISCO                  VARIOUS                                      UNDETERMINED UNDETERMINED
        SAN FRANCISCO PUBLIC UTILITIES
        COMM                                   ACCOUNT NO.: NOT
        525 GOLDEN GATE AVE 4TH FL                AVAILABLE
        SAN FRANCISCO, CA 94102




                                               Page 4 of 60 to Schedule E/F Part 1

       Case: 19-30088           Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 5 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.31    CITY & COUNTY SAN FRANCISCO                  VARIOUS                                      UNDETERMINED UNDETERMINED
        SF MUNICIPAL TRANSPORTATION
        AGENCY                                 ACCOUNT NO.: NOT
        821 HOWARD ST                             AVAILABLE
        SAN FRANCISCO, CA 94103

2.32    CITY AND COUNTY OF SAN                       VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCISCO
        BUDGET & ANALYSIS MANAGER              ACCOUNT NO.: NOT
        1 DR. CARLTON B. GOODLETT                 AVAILABLE
        PLACE, RM 312
        SAN FRANCISCO, CA 94102

2.33    CITY OF ALAMEDA                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        2263 SANTA CLARA AVENUE                ACCOUNT NO.: NOT
        ALAMEDA, CA 94501                         AVAILABLE

2.34    CITY OF ALBANY                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DEPARTMENT
        1000 SAN PABLO AVENUE                  ACCOUNT NO.: NOT
        ALBANY, CA 94706                          AVAILABLE

2.35    CITY OF AMADOR CITY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        PO BOX 200                             ACCOUNT NO.: NOT
        AMADOR CITY, CA 95601                     AVAILABLE

2.36    CITY OF AMERICAN CANYON                      VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        438 BROADWAY, SUITE 201                ACCOUNT NO.: NOT
        AMERICAN CANYON, CA 94503                 AVAILABLE

2.37    CITY OF ANDERSON                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1887 HOWARD STREET                     ACCOUNT NO.: NOT
        ANDERSON, CA 96007                        AVAILABLE

2.38    CITY OF ANGELS CAMP                          VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        584 SOUTH MAIN STREET                  ACCOUNT NO.: NOT
        ANGELS CAMP, CA 95222                     AVAILABLE

2.39    CITY OF ANTIOCH                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        CITY HALL, THIRD & "H" STREETS         ACCOUNT NO.: NOT
        ANTIOCH, CA 94509                         AVAILABLE

2.40    CITY OF APPLE VALLEY                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        14955 DALE EVANS PARKWAY               ACCOUNT NO.: NOT
        APPLE VALLEY, CA 92307                    AVAILABLE




                                               Page 5 of 60 to Schedule E/F Part 1

       Case: 19-30088           Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 6 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.41    CITY OF ARCATA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        736 "F" STREET                         ACCOUNT NO.: NOT
        ARCATA, CA 95521                          AVAILABLE

2.42    CITY OF ARROYO GRANDE                        VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCIAL
        SERVICES                               ACCOUNT NO.: NOT
        300 E. BRANCH STREET                      AVAILABLE
        ARROYO GRANDE, CA 93420

2.43    CITY OF ARVIN                                VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        200 CAMPUS DRIVE                       ACCOUNT NO.: NOT
        ARVIN, CA 93203                           AVAILABLE

2.44    CITY OF ATASCADERO                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        6500 PALMA AVE                         ACCOUNT NO.: NOT
        ATASCADERO, CA 93422                      AVAILABLE

2.45    CITY OF ATHERTON                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        91 ASHFIELD ROAD                       ACCOUNT NO.: NOT
        ATHERTON, CA 94027                        AVAILABLE

2.46    CITY OF ATWATER                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        750 BELLEVUE ROAD                         AVAILABLE
        ATWATER, CA 95301

2.47    CITY OF AUBURN                               VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPUTY CITY TREASURER
        1225 LINCOLN WAY                       ACCOUNT NO.: NOT
        AUBURN, CA 95603                          AVAILABLE

2.48    CITY OF AVENAL                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        919 SKYLINE BLVD.                      ACCOUNT NO.: NOT
        AVENAL, CA 93204                          AVAILABLE

2.49    CITY OF BAKERSFIELD                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER
        1600 TRUXTON AVENUE                    ACCOUNT NO.: NOT
        BAKERSFIELD, CA 93301                     AVAILABLE

2.50    CITY OF BARSTOW                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        220 EAST MOUNTAIN VIEW                 ACCOUNT NO.: NOT
        STREET, SUITE A                           AVAILABLE
        BARSTOW, CA 92311




                                               Page 6 of 60 to Schedule E/F Part 1

       Case: 19-30088           Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 7 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.51    CITY OF BELMONT                              VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        ONE TWIN PINES LANE, SUITE #320        ACCOUNT NO.: NOT
        BELMONT, CA 94002                         AVAILABLE

2.52    CITY OF BELVEDERE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        450 SAN RAFAEL AVENUE                  ACCOUNT NO.: NOT
        BELVEDERE, CA 94920                       AVAILABLE

2.53    CITY OF BENICIA                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCIAL DIRECTOR
        250 EAST L STREET                      ACCOUNT NO.: NOT
        BENICIA, CA 94510                         AVAILABLE

2.54    CITY OF BERKELEY                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        2180 MILVIA ST.                        ACCOUNT NO.: NOT
        BERKELEY, CA 94704                        AVAILABLE

2.55    CITY OF BIGGS                                VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY ADMINISTRATOR/CITY CLERK
        3016 SIXTH STREET                      ACCOUNT NO.: NOT
        BIGGS, CA 95917                           AVAILABLE

2.56    CITY OF BLUE LAKE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        BUSINESS OFFICE
        SUPERVISOR/CITY CLERK                  ACCOUNT NO.: NOT
        111 GREENWOOD ROAD                        AVAILABLE
        BLUE LAKE, CA 95525

2.57    CITY OF BRENTWOOD                            VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNT ASSISTANT II
        150 CITY PARK WAY                      ACCOUNT NO.: NOT
        BRENTWOOD, CA 94513                       AVAILABLE

2.58    CITY OF BRISBANE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        50 PARK PLACE                          ACCOUNT NO.: NOT
        BRISBANE, CA 94005                        AVAILABLE

2.59    CITY OF BUELLTON                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        107 W. HIGHWAY 246                     ACCOUNT NO.: NOT
        BUELLTON, CA 93427                        AVAILABLE

2.60    CITY OF BURLINGAME                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        501 PRIMROSE ROAD                      ACCOUNT NO.: NOT
        BURLINGAME, CA 94010                      AVAILABLE

2.61    CITY OF CALIFORNIA CITY                      VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        21000 HACIENDA BLVD                    ACCOUNT NO.: NOT
        CALIFORNIA CITY, CA 93505                 AVAILABLE

                                               Page 7 of 60 to Schedule E/F Part 1

       Case: 19-30088           Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 8 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.62    CITY OF CALISTOGA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1232 WASHINGTON STREET                 ACCOUNT NO.: NOT
        CALISTOGA, CA 94515                       AVAILABLE

2.63    CITY OF CAMPBELL                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        70 NORTH 1ST STREET                    ACCOUNT NO.: NOT
        CAMPBELL, CA 95008                        AVAILABLE

2.64    CITY OF CAPITOLA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY TREASURER
        420 CAPITOLA AVENUE                    ACCOUNT NO.: NOT
        CAPITOLA, CA 95010                        AVAILABLE

2.65    CITY OF CARMEL-BY-THE-SEA                    VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCIAL SERVICES
        PO BOX CC                              ACCOUNT NO.: NOT
        CARMEL, CA 93921                          AVAILABLE

2.66    CITY OF CERES                                VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        2720 SECOND STREET                     ACCOUNT NO.: NOT
        CERES, CA 95307                           AVAILABLE

2.67    CITY OF CHICO                                VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        411 MAIN STREET                        ACCOUNT NO.: NOT
        CHICO, CA 95928                           AVAILABLE

2.68    CITY OF CHOWCHILLA                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        130 S 2ND STREET                       ACCOUNT NO.: NOT
        CHOWCHILLA, CA 93610                      AVAILABLE

2.69    CITY OF CITRUS HEIGHTS                       VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        6360 FOUNTAIN SQUARE DRIVE             ACCOUNT NO.: NOT
        CITRUS HEIGHTS, CA 95621                  AVAILABLE

2.70    CITY OF CLAYTON                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE MANAGER
        6000 HERITAGE TRAIL                    ACCOUNT NO.: NOT
        CLAYTON, CA 94517                         AVAILABLE

2.71    CITY OF CLEARLAKE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        14050 OLYMPIC DRIVE                    ACCOUNT NO.: NOT
        CLEARLAKE, CA 95422                       AVAILABLE

2.72    CITY OF CLOVERDALE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        ASST. CITY MANAGER
        124 N. CLOVERDALE BLVD.                ACCOUNT NO.: NOT
        CLOVERDALE, CA 95425                      AVAILABLE


                                               Page 8 of 60 to Schedule E/F Part 1

       Case: 19-30088           Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 9 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.73    CITY OF CLOVIS                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1033 FIFTH                             ACCOUNT NO.: NOT
        CLOVIS, CA 93612                          AVAILABLE

2.74    CITY OF COALINGA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTS RECEIVABLE
        155 WEST DURIAN STREET                 ACCOUNT NO.: NOT
        COALINGA, CA 93210                        AVAILABLE

2.75    CITY OF COLFAX                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY TREASURER
        33 SOUTH MAIN STREET                   ACCOUNT NO.: NOT
        COLFAX, CA 95713                          AVAILABLE

2.76    CITY OF COLMA                                VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        1198 EL CAMINO REAL                    ACCOUNT NO.: NOT
        COLMA, CA 94014                           AVAILABLE

2.77    CITY OF COLUSA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        425 WEBSTER STREET                     ACCOUNT NO.: NOT
        COLUSA, CA 95932                          AVAILABLE

2.78    CITY OF CONCORD                              VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE &
        MANAGEMENT SERVICES                    ACCOUNT NO.: NOT
        1950 PARKSIDE DRIVE                       AVAILABLE
        CONCORD, CA 94519

2.79    CITY OF CORCORAN                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1033 CHITTENDEN AVENUE                 ACCOUNT NO.: NOT
        CORCORAN, CA 93212                        AVAILABLE

2.80    CITY OF CORNING                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER/FINANCE
        DIRECTOR                               ACCOUNT NO.: NOT
        794 3RD STREET                            AVAILABLE
        CORNING, CA 96021

2.81    CITY OF CORTE MADERA                         VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF ADMIN. SERVICES
        300 TAMALPAIS DRIVE                    ACCOUNT NO.: NOT
        CORTE MADERA, CA 94925                    AVAILABLE

2.82    CITY OF COTATI                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        201 WEST SIERRA AVENUE                 ACCOUNT NO.: NOT
        COTATI, CA 94931                          AVAILABLE




                                               Page 9 of 60 to Schedule E/F Part 1

       Case: 19-30088          Doc# 900       Filed: 03/14/19          Entered: 03/14/19 22:42:10           Page 10 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.83    CITY OF CUPERTINO                            VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF ADMINISTRATIVE
        SERVICES                               ACCOUNT NO.: NOT
        10300 TORRE AVENUE                        AVAILABLE
        CUPERTINO, CA 95014

2.85    CITY OF DALY CITY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        333-90TH ST 1ST FL
        DALY CITY, CA 94015                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.84    CITY OF DALY CITY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        333 90TH STREET                        ACCOUNT NO.: NOT
        DALY CITY, CA 94015                       AVAILABLE

2.86    CITY OF DANVILLE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR/TREASURER
        510 LA GONDA WAY                       ACCOUNT NO.: NOT
        DANVILLE, CA 94526                        AVAILABLE

2.87    CITY OF DAVIS                                VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE ANALYST
        23 RUSSELL BLVD                        ACCOUNT NO.: NOT
        DAVIS, CA 95616                           AVAILABLE

2.88    CITY OF DEL REY OAKS                         VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        650 CANYON DEL REY ROAD                ACCOUNT NO.: NOT
        DEL REY OAKS, CA 93940                    AVAILABLE

2.89    CITY OF DINUBA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        MS. JHO ROLDAN
        405 EAST EL MONTE WAY                  ACCOUNT NO.: NOT
        DINUBA, CA 93618                          AVAILABLE

2.90    CITY OF DIXON                                VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        600 EAST A STREET                      ACCOUNT NO.: NOT
        DIXON, CA 95620                           AVAILABLE

2.91    CITY OF DOS PALOS                            VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        2174 BLOSSOM ST.                       ACCOUNT NO.: NOT
        DOS PALOS, CA 93620                       AVAILABLE

2.92    CITY OF DUBLIN                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE TECHNICIAN
        100 CIVIC PLAZA                        ACCOUNT NO.: NOT
        DUBLIN, CA 94568                          AVAILABLE

2.93    CITY OF EAST PALO ALTO                       VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE MANAGER
        2415 UNIVERSITY AVENUE                 ACCOUNT NO.: NOT
        EAST PALO ALTO, CA 94303                  AVAILABLE

                                              Page 10 of 60 to Schedule E/F Part 1

       Case: 19-30088          Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 11 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.94    CITY OF EL CERRITO                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCIAL SERVICES MANAGER
        10890 SAN PABLO AVENUE                 ACCOUNT NO.: NOT
        EL CERRITO, CA 94530                      AVAILABLE

2.95    CITY OF ELK GROVE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        8380 LAGUNA PALMS WAY                     AVAILABLE
        ELK GROVE, CA 95758

2.96    CITY OF EMERYVILLE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1333 PARK AVENUE                       ACCOUNT NO.: NOT
        EMERYVILLE, CA 94608                      AVAILABLE

2.97    CITY OF ESCALON                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1854 MAIN STREET                       ACCOUNT NO.: NOT
        ESCALON, CA 95320                         AVAILABLE

2.98    CITY OF EUREKA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE OFFICE MANAGER
        531 K STREET                           ACCOUNT NO.: NOT
        EUREKA, CA 95503                          AVAILABLE

2.99    CITY OF FAIRFAX                              VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        142 BOLINAS ROAD                       ACCOUNT NO.: NOT
        FAIRFAX, CA 94930                         AVAILABLE

2.100   CITY OF FAIRFIELD                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1000 WEBSTER STREET                    ACCOUNT NO.: NOT
        FAIRFIELD, CA 94533                       AVAILABLE

2.101   CITY OF FERNDALE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK/TREASURER
        834 MAIN STREET                        ACCOUNT NO.: NOT
        FERNDALE, CA 95536                        AVAILABLE

2.102   CITY OF FIREBAUGH                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1575 ELEVENTH                          ACCOUNT NO.: NOT
        FIREBAUGH, CA 93622                       AVAILABLE

2.103   CITY OF FOLSOM                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        50 NATOMA STREET                       ACCOUNT NO.: NOT
        FOLSOM, CA 95630                          AVAILABLE

2.104   CITY OF FORT BRAGG                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        416 N. FRANKLIN                        ACCOUNT NO.: NOT
        FORT BRAGG, CA 95437                      AVAILABLE

                                              Page 11 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 12 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.105   CITY OF FORTUNA                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        621 11TH STREET                        ACCOUNT NO.: NOT
        FORTUNA, CA 95540                         AVAILABLE

2.106   CITY OF FOSTER CITY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        610 FOSTER CITY BLVD.                  ACCOUNT NO.: NOT
        FOSTER CITY, CA 94404                     AVAILABLE

2.107   CITY OF FOWLER                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        128 S. FIFTH STREET                    ACCOUNT NO.: NOT
        FOWLER, CA 93625                          AVAILABLE

2.108   CITY OF FREMONT                              VARIOUS                                      UNDETERMINED UNDETERMINED
        BUDGET & REVENUE MANAGER
        3300 CAPITOL AVE., BLDG B              ACCOUNT NO.: NOT
        FREMONT, CA 94538                         AVAILABLE

2.111   CITY OF FRESNO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        ASSISTANT CONTROLLER
        2600 FRESNO STREET, ROOM 2156          ACCOUNT NO.: NOT
        FRESNO, CA 93721                          AVAILABLE

2.109   CITY OF FRESNO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF FINANCE
        2323 MARIPOSA ST                       ACCOUNT NO.: NOT
        FRESNO, CA 93721                          AVAILABLE

2.110   CITY OF FRESNO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        SUSTAINABLE FRESNO DIVISION
        2600 FRESNO ST RM 3065                 ACCOUNT NO.: NOT
        FRESNO, CA 93721-3604                     AVAILABLE

2.112   CITY OF GALT                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        380 CIVIC DRIVE                        ACCOUNT NO.: NOT
        GALT, CA 95632                            AVAILABLE

2.113   CITY OF GILROY                               VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNT CLERK
        7351 ROSANNA STREET                    ACCOUNT NO.: NOT
        GILROY, CA 95020                          AVAILABLE

2.114   CITY OF GONZALES                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        147 FOURTH STREET                      ACCOUNT NO.: NOT
        GONZALES, CA 93926                        AVAILABLE

2.115   CITY OF GRASS VALLEY                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DEPARTMENT
        125 EAST MAIN STREET                   ACCOUNT NO.: NOT
        GRASS VALLEY, CA 95945                    AVAILABLE


                                              Page 12 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 13 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.116   CITY OF GREENFIELD                           VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        45 EL CAMINO REAL                      ACCOUNT NO.: NOT
        GREENFIELD, CA 93927                      AVAILABLE

2.117   CITY OF GRIDLEY                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        CLERK II                               ACCOUNT NO.: NOT
        685 KENTUCKY STREET                       AVAILABLE
        GRIDLEY, CA 95948

2.118   CITY OF GROVER BEACH                         VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        154 SOUTH EIGHTH STREET                   AVAILABLE
        GROVER BEACH, CA 93433

2.119   CITY OF GUADALUPE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        918 OBISPO                             ACCOUNT NO.: NOT
        GUADALUPE, CA 93434                       AVAILABLE

2.120   CITY OF GUSTINE                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        682 THIRD AVENUE                       ACCOUNT NO.: NOT
        GUSTINE, CA 95322                         AVAILABLE

2.121   CITY OF HALF MOON BAY                        VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        501 MAIN STREET                        ACCOUNT NO.: NOT
        HALF MOON BAY, CA 94019                   AVAILABLE

2.122   CITY OF HANFORD                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR - TREASURER
        315 N. DOUTY STREET                    ACCOUNT NO.: NOT
        HANFORD, CA 93230                         AVAILABLE

2.123   CITY OF HAYWARD                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTING MANAGER
        777 B STREET                           ACCOUNT NO.: NOT
        HAYWARD, CA 94541                         AVAILABLE

2.124   CITY OF HEALDSBURG                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        401 GROVE STREET                       ACCOUNT NO.: NOT
        HEALDSBURG, CA 95448                      AVAILABLE

2.125   CITY OF HERCULES                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        111 CIVIC DRIVE                        ACCOUNT NO.: NOT
        HERCULES, CA 94547                        AVAILABLE




                                              Page 13 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 14 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.126   CITY OF HILLSBOROUGH                         VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTANT
        1600 FLORIBUNDA AVENUE                 ACCOUNT NO.: NOT
        HILLSBOROUGH, CA 94010                    AVAILABLE

2.127   CITY OF HOLLISTER                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        375 FIFTH STREET                       ACCOUNT NO.: NOT
        HOLLISTER, CA 95023                       AVAILABLE

2.128   CITY OF HUGHSON                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        7018 PINE                              ACCOUNT NO.: NOT
        HUGHSON, CA 95326                         AVAILABLE

2.129   CITY OF HURON                                VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        36311 LASSEN AVENUE                    ACCOUNT NO.: NOT
        HURON, CA 93234                           AVAILABLE

2.130   CITY OF IONE                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        1 E. MAIN STREET                       ACCOUNT NO.: NOT
        IONE, CA 95640                            AVAILABLE

2.131   CITY OF ISLETON                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        101 SECOND                             ACCOUNT NO.: NOT
        ISLETON, CA 95641                         AVAILABLE

2.132   CITY OF JACKSON                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTANT
        33 BROADWAY                            ACCOUNT NO.: NOT
        JACKSON, CA 95642                         AVAILABLE

2.133   CITY OF KERMAN                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        850 SOUTH MADERA AVENUE                ACCOUNT NO.: NOT
        KERMAN, CA 93630                          AVAILABLE

2.134   CITY OF KING CITY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        212 SO. VANDERHURST AVENUE             ACCOUNT NO.: NOT
        KING CITY, CA 93930                       AVAILABLE

2.135   CITY OF KINGSBURG                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1401 DRAPER STREET                     ACCOUNT NO.: NOT
        KINGSBURG, CA 93631                       AVAILABLE

2.136   CITY OF LAFAYETTE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        3675 MOUNT DIABLO BLVD., #210             AVAILABLE
        LAFAYETTE, CA 94549

                                              Page 14 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 15 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.137   CITY OF LAKEPORT                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        225 PARK STREET                        ACCOUNT NO.: NOT
        LAKEPORT, CA 95453                        AVAILABLE

2.138   CITY OF LARKSPUR                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        400 MAGNOLIA AVENUE                    ACCOUNT NO.: NOT
        LARKSPUR, CA 94939                        AVAILABLE

2.139   CITY OF LATHROP                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        390 TOWNE CENTRE DRIVE                 ACCOUNT NO.: NOT
        LATHROP, CA 95330                         AVAILABLE

2.140   CITY OF LEMOORE                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        119 FOX STREET                         ACCOUNT NO.: NOT
        LEMOORE, CA 93245                         AVAILABLE

2.141   CITY OF LINCOLN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTANT
        600 6TH STREET                         ACCOUNT NO.: NOT
        LINCOLN, CA 95648                         AVAILABLE

2.142   CITY OF LIVE OAK                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ASST. CITY MANAGER
        9955 LIVE OAK BLVD.                    ACCOUNT NO.: NOT
        LIVE OAK, CA 95953                        AVAILABLE

2.143   CITY OF LIVERMORE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        SR. ADMINISTRATIVE ACCOUNT
        TECHNICIAN                             ACCOUNT NO.: NOT
        1052 S. LIVERMORE AVENUE                  AVAILABLE
        LIVERMORE, CA 94550

2.144   CITY OF LIVINGSTON                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1416 "C"                               ACCOUNT NO.: NOT
        LIVINGSTON, CA 95334                      AVAILABLE

2.145   CITY OF LODI                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        BUDGET MANAGER
        300 WEST PINE STREET                   ACCOUNT NO.: NOT
        LODI, CA 95240                            AVAILABLE

2.146   CITY OF LOMPOC                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY TREASURER
        PO BOX 8001                            ACCOUNT NO.: NOT
        LOMPOC, CA 93438                          AVAILABLE




                                              Page 15 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 16 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.147   CITY OF LOOMIS                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE OFFICER
        6140 HORSESHOE BAR ROAD, STE           ACCOUNT NO.: NOT
        K                                         AVAILABLE
        LOOMIS, CA 95650

2.148   CITY OF LOS ALTOS                            VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTING SUPERVISOR
        1 NORTH SAN ANTONIO ROAD               ACCOUNT NO.: NOT
        LOS ALTOS, CA 94022                       AVAILABLE

2.149   CITY OF LOS ALTOS HILLS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        26379 FREMONT ROAD                     ACCOUNT NO.: NOT
        LOS ALTOS HILLS, CA 94022                 AVAILABLE

2.150   CITY OF LOS BANOS                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        520 J STREET                           ACCOUNT NO.: NOT
        LOS BANOS, CA 93635                       AVAILABLE

2.151   CITY OF LOS GATOS                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        110 EAST MAIN STREET                   ACCOUNT NO.: NOT
        LOS GATOS, CA 95030                       AVAILABLE

2.152   CITY OF MADERA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        205 WEST FOURTH                        ACCOUNT NO.: NOT
        MADERA, CA 93637                          AVAILABLE

2.153   CITY OF MANTECA                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        1001 WEST CENTER STREET                ACCOUNT NO.: NOT
        MANTECA, CA 95337                         AVAILABLE

2.154   CITY OF MARICOPA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNT CLERK
        400 CALIFORNIA                         ACCOUNT NO.: NOT
        MARICOPA, CA 93252                        AVAILABLE

2.155   CITY OF MARINA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        MANAGER                                ACCOUNT NO.: NOT
        211 HILLCREST AVENUE                      AVAILABLE
        MARINA, CA 93933

2.156   CITY OF MARTINEZ                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        525 HENRIETTA STREET                      AVAILABLE
        MARTINEZ, CA 94553




                                              Page 16 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 17 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.157   CITY OF MARYSVILLE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        MANAGER                                ACCOUNT NO.: NOT
        526 C STREET                              AVAILABLE
        MARYSVILLE, CA 95901

2.158   CITY OF MCFARLAND                            VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        401 W. KERN AVENUE                     ACCOUNT NO.: NOT
        MCFARLAND, CA 93250                       AVAILABLE

2.159   CITY OF MENDOTA                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ASSISTANT CITY
        MANAGER/FINANCE DIRECTOR               ACCOUNT NO.: NOT
        643 QUINCE STREET                         AVAILABLE
        MENDOTA, CA 93640

2.160   CITY OF MENLO PARK                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        701 LAUREL STREET                      ACCOUNT NO.: NOT
        MENLO PARK, CA 94025                      AVAILABLE

2.161   CITY OF MERCED                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE OFFICER
        678 W. 18TH STREET                     ACCOUNT NO.: NOT
        MERCED, CA 95340                          AVAILABLE

2.162   CITY OF MILL VALLEY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        26 CORTE MADERA AVENUE                 ACCOUNT NO.: NOT
        MILL VALLEY, CA 94942                     AVAILABLE

2.163   CITY OF MILLBRAE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCIAL SERVICES MANAGER
        621 MAGNOLIA AVENUE                    ACCOUNT NO.: NOT
        MILLBRAE, CA 94030                        AVAILABLE

2.164   CITY OF MILPITAS                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FISCAL SERVICES MANAGER
        455 E. CALAVERAS BLVD.                 ACCOUNT NO.: NOT
        MILPITAS, CA 95035                        AVAILABLE

2.165   CITY OF MODESTO                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CASHIERING
        P. O. BOX 642                          ACCOUNT NO.: NOT
        MODESTO, CA 95353                         AVAILABLE

2.166   CITY OF MONTE SERENO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE OFFICER
        18041 SARATOGA-LOS GATOS               ACCOUNT NO.: NOT
        ROAD                                      AVAILABLE
        MONTE SERENO, CA 95030




                                              Page 17 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 18 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.167   CITY OF MONTEREY                             VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE OFFICER
        CITY HALL, ROOM #4 (REVENUE)           ACCOUNT NO.: NOT
        MONTEREY, CA 93940                        AVAILABLE

2.168   CITY OF MORAGA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        2100 DONALD DRIVE                      ACCOUNT NO.: NOT
        MORAGA, CA 94556                          AVAILABLE

2.169   CITY OF MORGAN HILL                          VARIOUS                                      UNDETERMINED UNDETERMINED
        INTERIM DIRECTOR OF FINANCE
        17555 PEAK AVENUE                      ACCOUNT NO.: NOT
        MORGAN HILL, CA 95037                     AVAILABLE

2.170   CITY OF MORRO BAY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        595 HARBOR STREET                      ACCOUNT NO.: NOT
        MORRO BAY, CA 93442                       AVAILABLE

2.171   CITY OF MOUNTAIN VIEW                        VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE & ADMINISTRATIVE
        SERVICES DIRECTOR                      ACCOUNT NO.: NOT
        500 CASTRO SREET                          AVAILABLE
        MOUNTAIN VIEW, CA 94041

2.172   CITY OF NAPA                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        CONTROLLER
        955 SCHOOL STREET                      ACCOUNT NO.: NOT
        NAPA, CA 94559                            AVAILABLE

2.173   CITY OF NEVADA CITY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        317 BROAD STREET                       ACCOUNT NO.: NOT
        NEVADA CITY, CA 95959                     AVAILABLE

2.174   CITY OF NEWARK                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        37101 NEWARK BLVD                      ACCOUNT NO.: NOT
        NEWARK, CA 94560                          AVAILABLE

2.175   CITY OF NEWMAN                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1162 MAIN STREET                       ACCOUNT NO.: NOT
        NEWMAN, CA 95360                          AVAILABLE

2.176   CITY OF NOVATO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CHIEF FINANCIAL OFFICER
        75 ROWLAND WAY                         ACCOUNT NO.: NOT
        NOVATO, CA 94945                          AVAILABLE

2.177   CITY OF OAKDALE                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        280 N. THIRD AVENUE                    ACCOUNT NO.: NOT
        OAKDALE, CA 95361                         AVAILABLE

                                              Page 18 of 60 to Schedule E/F Part 1

        Case: 19-30088          Doc# 900      Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 19 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.178   CITY OF OAKLAND                              VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURY MANAGER
        150 FRANK H. OGAWA PLAZA, STE.         ACCOUNT NO.: NOT
        5330                                      AVAILABLE
        OAKLAND, CA 94612

2.179   CITY OF OAKLEY                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        3231 MAIN STREET                       ACCOUNT NO.: NOT
        OAKLEY, CA 94561                          AVAILABLE

2.180   CITY OF ORANGE COVE                          VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        633 SIXTH STREET                       ACCOUNT NO.: NOT
        ORANGE COVE, CA 93646                     AVAILABLE

2.181   CITY OF ORINDA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF
        FINANCE/ADMINISTRATION                 ACCOUNT NO.: NOT
        22 ORINDA WAY                             AVAILABLE
        ORINDA , CA 94563

2.182   CITY OF ORLAND                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY TREASURER
        815 FOURTH STREET                      ACCOUNT NO.: NOT
        ORLAND, CA 95963                          AVAILABLE

2.183   CITY OF OROVILLE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1735 MONTGOMERY                        ACCOUNT NO.: NOT
        OROVILLE, CA 95965                        AVAILABLE

2.184   CITY OF PACIFIC GROVE                        VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        300 FOREST AVE., 1ST FLOOR                AVAILABLE
        PACIFIC GROVE, CA 93950

2.185   CITY OF PACIFICA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        170 SANTA MARIA AVENUE                 ACCOUNT NO.: NOT
        PACIFICA, CA 94044                        AVAILABLE

2.186   CITY OF PALO ALTO                            VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        250 HAMILTON AVENUE                    ACCOUNT NO.: NOT
        PALO ALTO, CA 94301                       AVAILABLE

2.187   CITY OF PARADISE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TOWN MANAGER
        5555 SKYWAY                            ACCOUNT NO.: NOT
        PARADISE, CA 95969                        AVAILABLE




                                              Page 19 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 20 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.188   CITY OF PARLIER                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1100 PARLIER AVENUE                    ACCOUNT NO.: NOT
        PARLIER, CA 93648                         AVAILABLE

2.189   CITY OF PASO ROBLES                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF ADMIN. SERVICES
        1000 SPRING STREET                     ACCOUNT NO.: NOT
        PASO ROBLES, CA 93446                     AVAILABLE

2.190   CITY OF PATTERSON                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        PO BOX 667                             ACCOUNT NO.: NOT
        PATTERSON, CA 95363                       AVAILABLE

2.191   CITY OF PETALUMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        PO BOX 61                              ACCOUNT NO.: NOT
        PETALUMA, CA 94953                        AVAILABLE

2.192   CITY OF PIEDMONT                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        120 VISTA AVENUE                       ACCOUNT NO.: NOT
        PIEDMONT, CA 94611                        AVAILABLE

2.193   CITY OF PINOLE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        2131 PEAR STREET                       ACCOUNT NO.: NOT
        PINOLE, CA 94564                          AVAILABLE

2.194   CITY OF PISMO BEACH                          VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        760 MATTIE ROAD                           AVAILABLE
        PISMO BEACH, CA 93449

2.195   CITY OF PITTSBURG                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        65 CIVIC AVENUE                        ACCOUNT NO.: NOT
        PITTSBURG, CA 94565                       AVAILABLE

2.196   CITY OF PLACERVILLE                          VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        CITY HALL 1ST FLR 3101 CENTER          ACCOUNT NO.: NOT
        STREET                                    AVAILABLE
        PLACERVILLE, CA 95667

2.197   CITY OF PLEASANT HILL                        VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        100 GREGORY LANE                       ACCOUNT NO.: NOT
        PLEASANT HILL, CA 94523                   AVAILABLE




                                              Page 20 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 21 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.198   CITY OF PLEASANTON                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        123 MAIN STREET                        ACCOUNT NO.: NOT
        PLEASANTON, CA 94566                      AVAILABLE

2.199   CITY OF PLYMOUTH                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        PO BOX 429                             ACCOUNT NO.: NOT
        PLYMOUTH, CA 95669                        AVAILABLE

2.200   CITY OF POINT ARENA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER
        451 SCHOOL STREET                      ACCOUNT NO.: NOT
        POINT ARENA, CA 95468                     AVAILABLE

2.201   CITY OF PORTOLA VALLEY                       VARIOUS                                      UNDETERMINED UNDETERMINED
        ASST. TOWN ADMINISTRATOR
        765 PORTOLA ROAD                       ACCOUNT NO.: NOT
        PORTOLA VALLEY, CA 94028                  AVAILABLE

2.202   CITY OF RANCHO CORDOVA                       VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        2729 PROSPECT PARK DRIVE               ACCOUNT NO.: NOT
        RANCHO CORDOVA, CA 95670                  AVAILABLE

2.203   CITY OF RED BLUFF                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        555 WASHINGTON STREET                  ACCOUNT NO.: NOT
        RED BLUFF, CA 96080                       AVAILABLE

2.204   CITY OF REDDING                              VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER
        CITY HALL, 3RD FLR 777 CYPRESS         ACCOUNT NO.: NOT
        AVENUE                                    AVAILABLE
        REDDING, CA 96001

2.205   CITY OF REDWOOD CITY                         VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE ASSISTANT
        1017 MIDDLEFIELD ROAD                  ACCOUNT NO.: NOT
        REDWOOD CITY, CA 94063                    AVAILABLE

2.206   CITY OF REEDLEY                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        845 G STREET                           ACCOUNT NO.: NOT
        REEDLEY, CA 93654                         AVAILABLE

2.207   CITY OF RICHMOND                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DEPARTMENT
        450 CIVIC CENTER PLAZA                 ACCOUNT NO.: NOT
        RICHMOND, CA 94804                        AVAILABLE

2.208   CITY OF RIDGECREST                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        100 W. CALIFORNIA AVENUE               ACCOUNT NO.: NOT
        RIDGECREST, CA 93555                      AVAILABLE

                                              Page 21 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 22 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.209   CITY OF RIO DELL                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY TREASURER
        675 WILDWOOD AVENUE                    ACCOUNT NO.: NOT
        RIO DELL, CA 95562                        AVAILABLE

2.210   CITY OF RIO VISTA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1 MAIN STREET                          ACCOUNT NO.: NOT
        RIO VISTA, CA 94571                       AVAILABLE

2.211   CITY OF RIPON                                VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY ADMINISTRATOR
        259 N. WILMA AVENUE                    ACCOUNT NO.: NOT
        RIPON, CA 95366                           AVAILABLE

2.212   CITY OF RIVERBANK                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        6707 THIRD STREET                      ACCOUNT NO.: NOT
        RIVERBANK, CA 95367                       AVAILABLE

2.213   CITY OF ROCKLIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE MANAGER
        3970 ROCKLIN ROAD                      ACCOUNT NO.: NOT
        ROCKLIN, CA 95677                         AVAILABLE

2.214   CITY OF ROHNERT PARK                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        130 AVRAM AVENUE                       ACCOUNT NO.: NOT
        ROHNERT PARK, CA 94928                    AVAILABLE

2.215   CITY OF ROSEVILLE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        311 VERNON STREET                      ACCOUNT NO.: NOT
        ROSEVILLE, CA 95678                       AVAILABLE

2.216   CITY OF ROSS                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTATIVE TOWN CLERK
        31 SIR FRANCIS DRAKE BLVD.             ACCOUNT NO.: NOT
        ROSS, CA 94957                            AVAILABLE

2.218   CITY OF SACRAMENTO                           VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE MANAGER
        915 I STREET, ROOM 1201                ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE

2.217   CITY OF SACRAMENTO                           VARIOUS                                      UNDETERMINED UNDETERMINED
        SACRAMENTO POLICE DEPT BLDG
        ALARM                                  ACCOUNT NO.: NOT
        5770 FREEPORT BLVD #100                   AVAILABLE
        SACRAMENTO, CA 95822-3516




                                              Page 22 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 23 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.219   CITY OF SAINT HELENA                         VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER/FINANCE
        DIRECTOR                               ACCOUNT NO.: NOT
        1480 MAIN STREET                          AVAILABLE
        SAINT HELENA, CA 94574

2.220   CITY OF SALINAS                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        200 LINCOLN AVENUE                     ACCOUNT NO.: NOT
        SALINAS, CA 93901                         AVAILABLE

2.221   CITY OF SAN ANSELMO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTING TECHNICIAN
        525 SAN ANSELMO AVENUE                 ACCOUNT NO.: NOT
        SAN ANSELMO, CA 94960                     AVAILABLE

2.222   CITY OF SAN BRUNO                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        567 EL CAMINO REAL                     ACCOUNT NO.: NOT
        SAN BRUNO, CA 94066                       AVAILABLE

2.223   CITY OF SAN CARLOS                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        600 ELM STREET                         ACCOUNT NO.: NOT
        SAN CARLOS, CA 94070                      AVAILABLE

2.224   CITY OF SAN JOAQUIN                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        21900 COLORADO AVENUE                  ACCOUNT NO.: NOT
        SAN JOAQUIN, CA 93660                     AVAILABLE

2.225   CITY OF SAN JOSE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE
        200 EAST SANTA CLARA STREET            ACCOUNT NO.: NOT
        SAN JOSE, CA 95113                        AVAILABLE

2.226   CITY OF SAN JUAN BAUTISTA                    VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE CLERK
        311 SECOND                             ACCOUNT NO.: NOT
        SAN JUAN BAUTISTA, CA 95045               AVAILABLE

2.227   CITY OF SAN LEANDRO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        835 EAST 14TH STREET                   ACCOUNT NO.: NOT
        SAN LEANDRO, CA 94577                     AVAILABLE

2.228   CITY OF SAN LUIS OBISPO                      VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE MANAGER
        990 PALM STREET                        ACCOUNT NO.: NOT
        SAN LUIS OBISPO, CA 93401                 AVAILABLE

2.229   CITY OF SAN MATEO                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        330 WEST 20TH AVENUE                   ACCOUNT NO.: NOT
        SAN MATEO, CA 94403                       AVAILABLE

                                              Page 23 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 24 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.230   CITY OF SAN PABLO                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        ONE ALVARADO SQUARE                    ACCOUNT NO.: NOT
        SAN PABLO, CA 94806                       AVAILABLE

2.231   CITY OF SAN RAFAEL                           VARIOUS                                      UNDETERMINED UNDETERMINED
        ASST. DIRECTOR OF
        MANAGEMENT SERVICES                    ACCOUNT NO.: NOT
        1400 5TH AVENUE                           AVAILABLE
        SAN RAFAEL, CA 94901

2.232   CITY OF SAN RAMON                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCIAL SERVICES MANAGER
        7000 BOLINGER CANYON RD                ACCOUNT NO.: NOT
        SAN RAMON, CA 94583                       AVAILABLE

2.233   CITY OF SAND CITY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF ADMINISTRATIVE
        SERVICES                               ACCOUNT NO.: NOT
        1 SYLVAN PARK                             AVAILABLE
        SAND CITY, CA 93955

2.234   CITY OF SANGER                               VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF ADMIN. SERVICES
        1700 SEVENTH                           ACCOUNT NO.: NOT
        SANGER, CA 93657                          AVAILABLE

2.235   CITY OF SANTA CLARA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTING TECHNICIAN
        1500 WARBURTON AVENUE                  ACCOUNT NO.: NOT
        SANTA CLARA, CA 95050                     AVAILABLE

2.236   CITY OF SANTA CRUZ                           VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE & TAXATION MANAGER
        809 CENTER STREET, ROOM 8              ACCOUNT NO.: NOT
        SANTA CRUZ, CA 95060                      AVAILABLE

2.237   CITY OF SANTA MARIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPUTY CITY CLERK
        110 E. COOK STREET, ROOM 3             ACCOUNT NO.: NOT
        SANTA MARIA, CA 93454                     AVAILABLE

2.238   CITY OF SANTA ROSA                           VARIOUS                                      UNDETERMINED UNDETERMINED
        CHIEF FINANCIAL OFFICER
        90 SANTA ROSA AVE., 2ND FLOOR          ACCOUNT NO.: NOT
        SANTA ROSA, CA 95404                      AVAILABLE

2.239   CITY OF SARATOGA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        13777 FRUITVALE AVENUE                    AVAILABLE
        SARATOGA, CA 95070




                                              Page 24 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 25 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.240   CITY OF SAUSALITO                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        420 LITHO STREET                       ACCOUNT NO.: NOT
        SAUSALITO, CA 94965                       AVAILABLE

2.241   CITY OF SCOTTS VALLEY                        VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        ONE CIVIC CENTER DRIVE                 ACCOUNT NO.: NOT
        SCOTTS VALLEY, CA 95066                   AVAILABLE

2.242   CITY OF SEASIDE                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        440 HARCOURT AVENUE                    ACCOUNT NO.: NOT
        SEASIDE, CA 93955                         AVAILABLE

2.243   CITY OF SEBASTOPOL                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        7120 BODEGA AVENUE                     ACCOUNT NO.: NOT
        SEBASTOPOL, CA 95472                      AVAILABLE

2.244   CITY OF SELMA                                VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTANT
        1710 TUCKER STREET                     ACCOUNT NO.: NOT
        SELMA, CA 93662                           AVAILABLE

2.245   CITY OF SHAFTER                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        336 PACIFIC AVENUE                     ACCOUNT NO.: NOT
        SHAFTER, CA 93263                         AVAILABLE

2.246   CITY OF SHASTA LAKE                          VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE SERVICES MANAGER
        1650 STANTON DRIVE                     ACCOUNT NO.: NOT
        SHASTA LAKE, CA 96019                     AVAILABLE

2.247   CITY OF SOLEDAD                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE OFFICER
        248 MAIN STREET                        ACCOUNT NO.: NOT
        SOLEDAD, CA 93960                         AVAILABLE

2.248   CITY OF SOLVANG                              VARIOUS                                      UNDETERMINED UNDETERMINED
        SR. ACCOUNT CLERK
        1644 OAK STREET                        ACCOUNT NO.: NOT
        SOLVANG, CA 93463                         AVAILABLE

2.249   CITY OF SONOMA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        1 THE PLAZA                            ACCOUNT NO.: NOT
        SONOMA, CA 95476                          AVAILABLE

2.250   CITY OF SONORA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        94 N. WASHINGTON STREET                ACCOUNT NO.: NOT
        SONORA, CA 95370                          AVAILABLE


                                              Page 25 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 26 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.251   CITY OF SOUTH SAN FRANCISCO                  VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE AUDITOR
        400 GRAND AVENUE                       ACCOUNT NO.: NOT
        SO. SAN FRANCISCO, CA 94080               AVAILABLE

2.252   CITY OF STOCKTON                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        425 NO. EL DORADO STREET               ACCOUNT NO.: NOT
        STOCKTON, CA 95202                        AVAILABLE

2.253   CITY OF STOCKTON                             VARIOUS                                      UNDETERMINED UNDETERMINED
        POLICE DEPT
        22 E MARKET ST                         ACCOUNT NO.: NOT
        STOCKTON, CA 95202                        AVAILABLE

2.254   CITY OF SUISUN CITY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        701 CIVIC CENTER BLVD.                    AVAILABLE
        SUISUN CITY, CA 94585

2.255   CITY OF SUNNYVALE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        650 W. OLIVE AVENUE                    ACCOUNT NO.: NOT
        SUNNYVALE, CA 94088                       AVAILABLE

2.256   CITY OF SUTTER CREEK                         VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE ASSISTANT
        18 MAIN STREET                         ACCOUNT NO.: NOT
        SUTTER CREEK, CA 95685                    AVAILABLE

2.257   CITY OF TAFT                                 VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNT CLERK II
        209 KERN STREET                        ACCOUNT NO.: NOT
        TAFT, CA 93268                            AVAILABLE

2.258   CITY OF TEHAMA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        460 C STREET                           ACCOUNT NO.: NOT
        TEHAMA, CA 96090                          AVAILABLE

2.259   CITY OF TIBURON                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1505 TIBURON BLVD.                     ACCOUNT NO.: NOT
        TIBURON, CA 94920                         AVAILABLE

2.260   CITY OF TRACY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        333 CIVIC CENTER PLAZA                 ACCOUNT NO.: NOT
        TRACY, CA 95376                           AVAILABLE

2.261   CITY OF TRINIDAD                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        409 TRINITY STREET                     ACCOUNT NO.: NOT
        TRINIDAD, CA 95570                        AVAILABLE

                                              Page 26 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 27 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.262   CITY OF TURLOCK                              VARIOUS                                      UNDETERMINED UNDETERMINED
        SR. ACCOUNTANT
        156 S. BROADWAY, SUITE 110             ACCOUNT NO.: NOT
        TURLOCK, CA 95380                         AVAILABLE

2.263   CITY OF UKIAH                                VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        300 SEMINARY AVENUE                    ACCOUNT NO.: NOT
        UKIAH, CA 95482                           AVAILABLE

2.264   CITY OF UNION CITY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        34009 ALVARADO-NILES ROAD                 AVAILABLE
        UNION CITY, CA 94587

2.265   CITY OF VACAVILLE                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE MANAGER
        650 MERCHANT STREET                    ACCOUNT NO.: NOT
        VACAVILLE, CA 95688                       AVAILABLE

2.266   CITY OF VALLEJO                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ASST. FINANCE DIRECTOR
        555 SANTA CLARA STREET                 ACCOUNT NO.: NOT
        VALLEJO, CA 94589                         AVAILABLE

2.267   CITY OF VICTORVILLE                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        14343 CIVIC DRIVE                      ACCOUNT NO.: NOT
        VICTORVILLE, CA 92392                     AVAILABLE

2.268   CITY OF WALNUT CREEK                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE MANAGER
        1666 N. MAIN STREET                    ACCOUNT NO.: NOT
        WALNUT CREEK, CA 94596                    AVAILABLE

2.269   CITY OF WASCO                                VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        746 EIGHTH STREET                      ACCOUNT NO.: NOT
        WASCO, CA 93280                           AVAILABLE

2.270   CITY OF WATERFORD                            VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE CLERK
        320 E STREET                           ACCOUNT NO.: NOT
        WATERFORD, CA 95386                       AVAILABLE

2.271   CITY OF WATSONVILLE                          VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMIN. SERVICES DIRECTOR
        250 MAIN STREET                        ACCOUNT NO.: NOT
        WATSONVILLE, CA 95076                     AVAILABLE

2.272   CITY OF WEST SACRAMENTO                      VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        1110 WEST CAPITOL AVE                  ACCOUNT NO.: NOT
        WEST SACRAMENTO, CA 95691                 AVAILABLE

                                              Page 27 of 60 to Schedule E/F Part 1

        Case: 19-30088          Doc# 900      Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 28 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.273   CITY OF WHEATLAND                            VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY CLERK
        111 C STREET                           ACCOUNT NO.: NOT
        WHEATLAND, CA 95692                       AVAILABLE

2.274   CITY OF WILLIAMS                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY ADMINISTRATOR
        810 "E" STREET                         ACCOUNT NO.: NOT
        WILLIAMS, CA 95987                        AVAILABLE

2.275   CITY OF WILLITS                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        111 E. COMMERCIAL                      ACCOUNT NO.: NOT
        WILLITS, CA 95490                         AVAILABLE

2.276   CITY OF WILLOWS                              VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER
        201 NORTH LASSEN STREET                ACCOUNT NO.: NOT
        WILLOWS, CA 95988                         AVAILABLE

2.277   CITY OF WINDSOR                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTING MANAGER
        PO BOX 100                             ACCOUNT NO.: NOT
        WINDSOR, CA 95492                         AVAILABLE

2.278   CITY OF WINTERS                              VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE OFFICER
        318 FIRST STREET                       ACCOUNT NO.: NOT
        WINTERS, CA 95694                         AVAILABLE

2.279   CITY OF WOODLAKE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTING MANAGER
        350 NORTH VALENCIA BLVD                ACCOUNT NO.: NOT
        WOODLAKE , CA 93286                       AVAILABLE

2.280   CITY OF WOODLAND                             VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        300 FIRST STREET                       ACCOUNT NO.: NOT
        WOODLAND, CA 95695                        AVAILABLE

2.281   CITY OF WOODSIDE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TOWN MANAGER
        P.O BOX 620005                         ACCOUNT NO.: NOT
        WOODSIDE, CA 94062                        AVAILABLE

2.282   CITY OF YOUNTVILLE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        FINANCE DIRECTOR
        6550 YOUNT STREET                      ACCOUNT NO.: NOT
        YOUNTVILLE, CA 94599                      AVAILABLE

2.283   CITY OF YUBA CITY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        1201 CIVIC CENTER BLVD.                   AVAILABLE
        YUBA CITY, CA 95993

                                              Page 28 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 29 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.285   CLIMATESMART CHARITY                         VARIOUS                                      UNDETERMINED UNDETERMINED
        REGISTRY OF CHARITABLE
        TRUSTS                                 ACCOUNT NO.: NOT
        PO BOX 903447                             AVAILABLE
        SACRAMENTO, CA 94201

2.284   CLIMATESMART CHARITY                         VARIOUS                                      UNDETERMINED UNDETERMINED
        SECRETARY OF STATE,
        STATEMENT OF INFORMATION               ACCOUNT NO.: NOT
        UNIT                                      AVAILABLE
        PO BOX 944230
        SACRAMENTO, CA 94244

2.287   CLIMATESMART CHARITY                         VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.286   CLIMATESMART CHARITY                         VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 94285                           ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE

2.288   COLUSA COUNTY AIR POLLUTION                  VARIOUS                                      UNDETERMINED UNDETERMINED
        CONTROL DISTRICT
        100 SUNRISE BLVD STE F                 ACCOUNT NO.: NOT
        COLUSA, CA 95932                          AVAILABLE

2.289   COLUSA COUNTY TAX COLLECTOR                  VARIOUS                                      UNDETERMINED UNDETERMINED
        547 MARKET STREET, SUITE 111
        COLUSA, CA 95932                       ACCOUNT NO.: NOT
                                                  AVAILABLE

2.291   CONTRA COSTA COUNTY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL HEALTH
        DIVISION                               ACCOUNT NO.: NOT
        50 DOUGLAS DR # 320C                      AVAILABLE

2.290   CONTRA COSTA COUNTY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        BUCHANAN FIELD AIRPORT
        550 SALLY RIDE DR                      ACCOUNT NO.: NOT
        CONCORD, CA 94520                         AVAILABLE

2.292   CONTRA COSTA COUNTY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER-TAX COLLECTOR
        625 COURT STREET, ROOM 100             ACCOUNT NO.: NOT
        MARTINEZ, CA 94553                        AVAILABLE

2.294   COUNTY OF ALAMEDA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE ANALYST
        1221 OAK STREET, SUITE 555             ACCOUNT NO.: NOT
        OAKLAND, CA 94612                         AVAILABLE




                                              Page 29 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 30 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.295   COUNTY OF ALAMEDA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        C/O RPM
        1401 LAKESIDE DR STE 600               ACCOUNT NO.: NOT
        OAKLAND, CA 94612                         AVAILABLE

2.297   COUNTY OF ALAMEDA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        1221 OAK STREET SUITE 555
        OAKLAND, CA 94612                      ACCOUNT NO.: NOT
                                                  AVAILABLE

2.296   COUNTY OF ALAMEDA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        PUBLIC WORKS AGENCY
        399 ELMHURST AVE                       ACCOUNT NO.: NOT
        HAYWARD, CA 94541                         AVAILABLE

2.298   COUNTY OF ALAMEDA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER TAX COLLECTORS
        OFFICE                                 ACCOUNT NO.: NOT
        224 W WINTON AVE RM169                    AVAILABLE
        HAYWARD, CA 94544

2.293   COUNTY OF ALAMEDA                            VARIOUS                                      UNDETERMINED UNDETERMINED
        1221 OAK ST RM 249
        OAKLAND, CA 94612                      ACCOUNT NO.: NOT
                                                  AVAILABLE

2.300   COUNTY OF ALPINE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        75 DIAMOND VALLEY RD
        MARKLEEVILLE, CA 96120                 ACCOUNT NO.: NOT
                                                  AVAILABLE

2.299   COUNTY OF ALPINE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY TAX COLLECTOR
        P.O. BOX 217                           ACCOUNT NO.: NOT
        MARKLEEVILLE, CA 96120                    AVAILABLE

2.303   COUNTY OF AMADOR                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        810 COURT ST                           ACCOUNT NO.: NOT
        JACKSON, CA 95642-9534                    AVAILABLE

2.301   COUNTY OF AMADOR                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AMADOR COUNTY AUDITOR-
        CONTROLLER                             ACCOUNT NO.: NOT
        810 COURT ST.                             AVAILABLE
        JACKSON, CA 95642

2.304   COUNTY OF AMADOR                             VARIOUS                                      UNDETERMINED UNDETERMINED
        810 COURT ST
        JACKSON, CA 95642                      ACCOUNT NO.: NOT
                                                  AVAILABLE




                                              Page 30 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 31 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.302   COUNTY OF AMADOR                             VARIOUS                                      UNDETERMINED UNDETERMINED
        810 COURT ST
        JACKSON, CA 95642                      ACCOUNT NO.: NOT
                                                  AVAILABLE

2.305   COUNTY OF BUTTE                              VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-ACCOUNTANT
        25 COUNTY CENTER DRIVE #120            ACCOUNT NO.: NOT
        OROVILLE, CA 95965                        AVAILABLE

2.307   COUNTY OF CALAVERAS                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CO. ADMINISTRATIVE OFFICER
        891 MOUNTAIN RANCH ROAD                ACCOUNT NO.: NOT
        SAN ANDREAS, CA 95249                     AVAILABLE

2.306   COUNTY OF CALAVERAS                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        891 MOUNTAIN RANCH RD                  ACCOUNT NO.: NOT
        SAN ANDREAS, CA 95249                     AVAILABLE

2.308   COUNTY OF COLUSA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR/CONTROLLER
        546 JAY                                ACCOUNT NO.: NOT
        COLUSA, CA 95932                          AVAILABLE

2.309   COUNTY OF CONTRA COSTA                       VARIOUS                                      UNDETERMINED UNDETERMINED
        FISCAL OFFICER
        255 GLACIER DRIVE                      ACCOUNT NO.: NOT
        MARTINEZ, CA 94553                        AVAILABLE

2.311   COUNTY OF EL DORADO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CHIEF ADMINISTRATIVE OFFICER
        330 FAIR LANE                          ACCOUNT NO.: NOT
        PLACERVILLE, CA 95667                     AVAILABLE

2.312   COUNTY OF EL DORADO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER-TAX COLLECTOR
        360 FAIR LN                            ACCOUNT NO.: NOT
        PLACERVILLE, CA 95667-4197                AVAILABLE

2.310   COUNTY OF EL DORADO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        330 FAIR LN
        PLACERVILLE, CA 95667                  ACCOUNT NO.: NOT
                                                  AVAILABLE

2.313   COUNTY OF FRESNO                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CHIEF ACCOUNTANT
        2281 TULARE STREET                     ACCOUNT NO.: NOT
        FRESNO, CA 93721                          AVAILABLE

2.315   COUNTY OF GLENN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ASSISTANT DIRECTOR OF FINANCE
        516 W. SYCAMORE STREET                 ACCOUNT NO.: NOT
        WILLOWS, CA 95988                         AVAILABLE


                                              Page 31 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 32 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.314   COUNTY OF GLENN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        516 W SYCAMORE ST
        WILLOWS, CA 95988                      ACCOUNT NO.: NOT
                                                  AVAILABLE

2.316   COUNTY OF HUMBOLDT                           VARIOUS                                      UNDETERMINED UNDETERMINED
        SUPERINTENDENT OF SCHOOLS
        6077 LOMA AVE                          ACCOUNT NO.: NOT
        EUREKA, CA 95503                          AVAILABLE

2.318   COUNTY OF HUMBOLDT                           VARIOUS                                      UNDETERMINED UNDETERMINED
        825 5TH STREET RM125
        EUREKA, CA 95501                       ACCOUNT NO.: NOT
                                                  AVAILABLE

2.319   COUNTY OF HUMBOLDT                           VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLER
        825 FIFTH STREET                       ACCOUNT NO.: NOT
        EUREKA, CA 95501                          AVAILABLE

2.317   COUNTY OF HUMBOLDT                           VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF PUBLIC WORKS
        1106 SECOND ST                         ACCOUNT NO.: NOT
        EUREKA, CA 95501                          AVAILABLE

2.320   COUNTY OF HUMBOLDT TAX                       VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        825 5TH ST #125                        ACCOUNT NO.: NOT
        EUREKA, CA 95501-1172                     AVAILABLE

2.321   COUNTY OF KERN                               VARIOUS                                      UNDETERMINED UNDETERMINED
        REAL PROPERTY AGENT
        1115 TRUXTUN AVENUE                    ACCOUNT NO.: NOT
        BAKERSFIELD, CA 93301                     AVAILABLE

2.322   COUNTY OF KERN                               VARIOUS                                      UNDETERMINED UNDETERMINED
        1115 TRUXTUN AVE 5TH FLR
        BAKERSFIELD, CA 93301                  ACCOUNT NO.: NOT
                                                  AVAILABLE

2.323   COUNTY OF KERN                               VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL HEALTH SVCS
        DEPT                                   ACCOUNT NO.: NOT
        2700 M ST #300                            AVAILABLE
        BAKERSFIELD, CA 93301-2730

2.326   COUNTY OF KINGS                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ATTN: GENERAL SERVICES
        KINGS COUNTY GOVERNMENT                ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        HANFORD, CA 93230




                                              Page 32 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 33 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.325   COUNTY OF KINGS                              VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPUTY AUDITOR-CONTROLLER
        1400 SOUTH DRIVE                       ACCOUNT NO.: NOT
        HANFORD, CA 93230                         AVAILABLE

2.324   COUNTY OF KINGS                              VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        1400 W LACEY BLVD                      ACCOUNT NO.: NOT
        HANFORD, CA 93230                         AVAILABLE

2.327   COUNTY OF LAKE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        LAKE COUNTY OFFICE OF THE
        255 N FORBES ST                        ACCOUNT NO.: NOT
        LAKEPORT, CA 95453                        AVAILABLE

2.332   COUNTY OF LAKE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        922 BEVINS CT
        LAKEPORT, CA 95453                     ACCOUNT NO.: NOT
                                                  AVAILABLE

2.329   COUNTY OF LAKE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE OFFICER
        255 NORTH FORBES STREET                ACCOUNT NO.: NOT
        LAKEPORT, CA 95453                        AVAILABLE

2.330   COUNTY OF LAKE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        LAKE COUNTY OFFICE OF THE
        TREASURER                              ACCOUNT NO.: NOT
        255 N FORBES ST                           AVAILABLE
        LAKEPORT, CA 95453

2.328   COUNTY OF LAKE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        LAKE COUNTY SUPERIOR COURT
        255 N FORBES ST                        ACCOUNT NO.: NOT
        LAKEPORT, CA 95453                        AVAILABLE

2.333   COUNTY OF LAKE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        PUBLIC SERVICE DEPT
        255 N FORBES ST                        ACCOUNT NO.: NOT
        LAKEPORT, CA 95453                        AVAILABLE

2.331   COUNTY OF LAKE                               VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE OFFICE
        255 N. FORBES ST                       ACCOUNT NO.: NOT
        LAKEPORT, CA 95453                        AVAILABLE

2.335   COUNTY OF LASSEN                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR
        221 SOUTH ROOP ST., SUITE 4            ACCOUNT NO.: NOT
        SUSANVILLE, CA 96130                      AVAILABLE

2.334   COUNTY OF LASSEN                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        220 SO LASSEN RM #103                  ACCOUNT NO.: NOT
        SUSANVILLE, CA 96130                      AVAILABLE

                                              Page 33 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 34 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.337   COUNTY OF MADERA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE OFFICE
        200 W 4TH ST                           ACCOUNT NO.: NOT
        MADERA, CA 93637                          AVAILABLE

2.336   COUNTY OF MADERA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        200 W 4TH ST
        MADERA, CA 93637                       ACCOUNT NO.: NOT
                                                  AVAILABLE

2.338   COUNTY OF MADERA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLER
        200 WEST FOURTH STREET                 ACCOUNT NO.: NOT
        MADERA, CA 93637                          AVAILABLE

2.340   COUNTY OF MARIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        3501 CIVIC CENTER DR #304
        SAN RAFAEL, CA 94913                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.339   COUNTY OF MARIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 4220                            ACCOUNT NO.: NOT
        SAN RAFAEL, CA 94913                      AVAILABLE

2.342   COUNTY OF MARIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ACCOUNTING MANAGER
        3501 CIVIC CENTER DRIVE, #225          ACCOUNT NO.: NOT
        SAN RAFAEL, CA 94903                      AVAILABLE

2.344   COUNTY OF MARIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        ASSESSOR-RECORDER-COUNTY
        CLERK                                  ACCOUNT NO.: NOT
        3501 CIVIC CENTER DR RM 232               AVAILABLE
        SAN RAFAEL, CA 94903

2.343   COUNTY OF MARIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        COMMUNITY DEVELOPMENT
        AGENCY                                 ACCOUNT NO.: NOT
        3501 CIVIC CENTER DR #308                 AVAILABLE
        SAN RAFAEL, CA 94903-4157

2.345   COUNTY OF MARIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 4055
        SAN RAFAEL, CA 94902                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.341   COUNTY OF MARIN                              VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF PUBLIC WORKS
        PO BOX 4186                            ACCOUNT NO.: NOT
        SAN RAFAEL, CA 94903                      AVAILABLE




                                              Page 34 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 35 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.346   COUNTY OF MARIPOSA                           VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY ADMINISTRATIVE
        OFFICER                                ACCOUNT NO.: NOT
        5100 BULLION, 2ND FLOOR                   AVAILABLE
        MARIPOSA, CA 95338

2.347   COUNTY OF MARIPOSA                           VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 247
        MARIPOSA, CA 95338                     ACCOUNT NO.: NOT
                                                  AVAILABLE

2.354   COUNTY OF MENDOCINO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        AIR QUALITY MANAGEMENT
        DISTRICT                               ACCOUNT NO.: NOT
        306 E GOBBI ST                            AVAILABLE
        UKIAH, CA 95482

2.348   COUNTY OF MENDOCINO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPUTY COUNTY
        ADMINISTRATIVE OFFICER                 ACCOUNT NO.: NOT
        501 LOW GAP ROAD, ROOM 1010               AVAILABLE
        UKIAH, CA 95482

2.350   COUNTY OF MENDOCINO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        AIR QUALITY MANAGEMENT
        DISTRICT                               ACCOUNT NO.: NOT
        501 LOW GAP RD ROOM 1080                  AVAILABLE
        UKIAH, CA 95482

2.351   COUNTY OF MENDOCINO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        501 LOW GAP RD RM #1060                ACCOUNT NO.: NOT
        UKIAH, CA 95482-4498                      AVAILABLE

2.349   COUNTY OF MENDOCINO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        501 LOW GAP RD RM 1010
        UKIAH, CA 95482                        ACCOUNT NO.: NOT
                                                  AVAILABLE

2.352   COUNTY OF MENDOCINO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF PLANNING AND BUILDING
        SRVC                                   ACCOUNT NO.: NOT
        501 LOW GAP RD RM 1080                    AVAILABLE
        UKIAH, CA 95482

2.353   COUNTY OF MENDOCINO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF TRANSPORTATION
        340 LAKE MENDOCINO DR                  ACCOUNT NO.: NOT
        UKIAH, CA 95482                           AVAILABLE

2.358   COUNTY OF MERCED                             VARIOUS                                      UNDETERMINED UNDETERMINED
        2222 M ST
        MERCED, CA 95340                       ACCOUNT NO.: NOT
                                                  AVAILABLE



                                              Page 35 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 36 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.355   COUNTY OF MERCED                             VARIOUS                                      UNDETERMINED UNDETERMINED
        MERCED COUNTY RECORDER
        2222 M ST                              ACCOUNT NO.: NOT
        MERCED, CA 95340                          AVAILABLE

2.356   COUNTY OF MERCED                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF PUBLIC WORKS-ROAD
        DIV                                    ACCOUNT NO.: NOT
        715 MARTIN LUTHER KING JR WY              AVAILABLE

2.357   COUNTY OF MERCED                             VARIOUS                                      UNDETERMINED UNDETERMINED
        SUPERVISING ACCOUNTANT
        2222 M STREET                          ACCOUNT NO.: NOT
        MERCED, CA 95340                          AVAILABLE

2.360   COUNTY OF MODOC                              VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR/RECORDER
        204 SO. COURT STREET                   ACCOUNT NO.: NOT
        ALTURAS, CA 96101                         AVAILABLE

2.359   COUNTY OF MODOC                              VARIOUS                                      UNDETERMINED UNDETERMINED
        MODOC COUNTY TAX COLLECTOR
        204 SO. COURT ST                       ACCOUNT NO.: NOT
        ALTURAS, CA 96101                         AVAILABLE

2.362   COUNTY OF MONTEREY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR CONTROLLER
        168 W ALISAL ST THIRD FL               ACCOUNT NO.: NOT
        SALINAS, CA 93902                         AVAILABLE

2.361   COUNTY OF MONTEREY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER
        P.O. BOX 390                           ACCOUNT NO.: NOT
        SALINAS, CA 93902                         AVAILABLE

2.363   COUNTY OF MONTEREY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        NATIVIDAD MEDICAL CENTER
        1441 CONSTITUTION BLVD                 ACCOUNT NO.: NOT
        SALINAS, CA 93906                         AVAILABLE

2.364   COUNTY OF NAPA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY ADMINISTRATOR
        1195 THIRD STREET, ROOM 310            ACCOUNT NO.: NOT
        NAPA, CA 94559                            AVAILABLE

2.365   COUNTY OF NEVADA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 128                             ACCOUNT NO.: NOT
        NEVADA CITY, CA 95959-0128                AVAILABLE

2.369   COUNTY OF NEVADA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF ENVIRONMENTAL HEALTH
        950 MAIDU AVE                          ACCOUNT NO.: NOT
        NEVADA CITY, CA 95959-8617                AVAILABLE


                                              Page 36 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 37 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.368   COUNTY OF NEVADA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE CLERK
        950 MAIDU AVENUE                       ACCOUNT NO.: NOT
        NEVADA CITY, CA 95959                     AVAILABLE

2.367   COUNTY OF NEVADA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        COMMUNITY DEVELOPMENT
        AGENCY                                 ACCOUNT NO.: NOT
        950 MAIDU AVE STE 290                     AVAILABLE
        NEVADA CITY, CA 95959-8617

2.366   COUNTY OF NEVADA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        950 MAIDU AVE
        NEVADA CITY, CA 95959                  ACCOUNT NO.: NOT
                                                  AVAILABLE

2.370   COUNTY OF PLACER                             VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE SERVICES
        10810 JUSTICE CENTER DR, SUITE         ACCOUNT NO.: NOT
        100                                       AVAILABLE
        ROSEVILLE, CA 95678

2.372   COUNTY OF PLUMAS                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CITY MANAGER/FINANCE
        DIRECTOR                               ACCOUNT NO.: NOT
        520 MAIN STREET, ROOM 309                 AVAILABLE
        QUINCY, CA 95971

2.371   COUNTY OF PLUMAS                             VARIOUS                                      UNDETERMINED UNDETERMINED
        520 W. MAIN ST
        QUINCY, CA 95971                       ACCOUNT NO.: NOT
                                                  AVAILABLE

2.373   COUNTY OF PLUMAS                             VARIOUS                                      UNDETERMINED UNDETERMINED
        PLUMAS COUNTY TAX COLLECTOR
        PO BOX 176                             ACCOUNT NO.: NOT
        QUINCY, CA 95971                          AVAILABLE

2.378   COUNTY OF SACRAMENTO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        MUNICIPAL SERVICE AGENCY
        PO BOX 1587                            ACCOUNT NO.: NOT
        SACRAMENTO, CA 95812                      AVAILABLE

2.374   COUNTY OF SACRAMENTO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        REAL ESTATE DIVISION
        3711 BRANCH CENTER RD                  ACCOUNT NO.: NOT
        SACRAMENTO, CA 95827                      AVAILABLE

2.375   COUNTY OF SACRAMENTO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        OFFICE SPECIALIST
        700 H ST RM 1710                       ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE




                                              Page 37 of 60 to Schedule E/F Part 1

        Case: 19-30088          Doc# 900      Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 38 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.376   COUNTY OF SACRAMENTO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL MANAGEMENT
        DEPT                                   ACCOUNT NO.: NOT
        10590 ARMSTRONG AVE                       AVAILABLE
        MATHER, CA 95655

2.377   COUNTY OF SACRAMENTO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        700 H ST #2450
        SACRAMENTO, CA 95814                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.380   COUNTY OF SACRAMENTO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        DIRECTOR OF FINANCE
        700 H STREET, ROOM 1710                ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE

2.379   COUNTY OF SACRAMENTO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        700 H STREET #3650
        SACRAMENTO, CA 95814                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.382   COUNTY OF SAN BENITO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        ASSISTANT AUDITOR
        481 FOURTH STREET                      ACCOUNT NO.: NOT
        HOLLISTER, CA 95023                       AVAILABLE

2.381   COUNTY OF SAN BENITO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        481 FOURTH ST
        HOLLISTER, CA 95023                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.383   COUNTY OF SAN BENITO                         VARIOUS                                      UNDETERMINED UNDETERMINED
        440 5TH ST
        HOLLISTER, CA 95023                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.386   COUNTY OF SAN BERNARDINO                     VARIOUS                                      UNDETERMINED UNDETERMINED
        222 W HOSPITALITY LN 4ND FL
        SAN BERNARDINO, CA 92415-0018          ACCOUNT NO.: NOT
                                                  AVAILABLE

2.388   COUNTY OF SAN BERNARDINO                     VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF PUBLIC HEALTH
        ENVIRONMENTAL                          ACCOUNT NO.: NOT
        351 N MOUNTAIN VIEW AVE                   AVAILABLE
        SAN BERNARDINO, CA 92415-0010

2.389   COUNTY OF SAN BERNARDINO                     VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE ANALYST
        157 WEST FIFTH STREET, 2ND             ACCOUNT NO.: NOT
        FLOOR                                     AVAILABLE
        SAN BERNARDINO, CA 92415




                                              Page 38 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 39 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.387   COUNTY OF SAN BERNARDINO                     VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER/TAX COLLECTOR
        385 N ARROWHEAD AVE FLR 3              ACCOUNT NO.: NOT
        SAN BERNARDINO, CA 92415                  AVAILABLE

2.385   COUNTY OF SAN BERNARDINO                     VARIOUS                                      UNDETERMINED UNDETERMINED
        825 E THIRD ST
        SAN BERNARDINO, CA 92415               ACCOUNT NO.: NOT
                                                  AVAILABLE

2.384   COUNTY OF SAN BERNARDINO                     VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        172 W THIRD ST                         ACCOUNT NO.: NOT
        SAN BERNARDINO, CA 92415                  AVAILABLE

2.390   COUNTY OF SAN DIEGO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        1600 PACIFIC HIGHWAY
        SAN DIEGO, CA 92101                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.391   COUNTY OF SAN JOAQUIN                        VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY ADMINISTRATOR
        222 WEBER AVENUE, ROOM 707             ACCOUNT NO.: NOT
        STOCKTON, CA 95202                        AVAILABLE

2.392   COUNTY OF SAN LUIS OBISPO                    VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY ADMINISTRATIVE OFFICE
        1055 MONTEREY STREET, SUITE            ACCOUNT NO.: NOT
        430                                       AVAILABLE
        SAN LUIS OBISPO, CA 93408

2.393   COUNTY OF SAN MATEO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPUTY COUNTY MANAGER
        400 COUNTY CENTER                      ACCOUNT NO.: NOT
        REDWOOD CITY, CA 94063                    AVAILABLE

2.394   COUNTY OF SANTA BARBARA                      VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER-TAX COLLECTOR
        105 E ANAPAMU STREET                   ACCOUNT NO.: NOT
        SANTA BARBARA, CA 93101                   AVAILABLE

2.396   COUNTY OF SANTA BARBARA                      VARIOUS                                      UNDETERMINED UNDETERMINED
        OEM
        105 E ANAPAMU ST                       ACCOUNT NO.: NOT
        SANTA BARBARA, CA 93101                   AVAILABLE

2.398   COUNTY OF SANTA BARBARA                      VARIOUS                                      UNDETERMINED UNDETERMINED
        123 E ANAPAMU ST
        SANTA BARBARA, CA 93101                ACCOUNT NO.: NOT
                                                  AVAILABLE

2.395   COUNTY OF SANTA BARBARA                      VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 579                             ACCOUNT NO.: NOT
        SANTA BARBARA, CA 93102                   AVAILABLE

                                              Page 39 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 40 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.397   COUNTY OF SANTA BARBARA                      VARIOUS                                      UNDETERMINED UNDETERMINED
        620 WEST FOSTER RD
        SANTA MARIA, CA 93455                  ACCOUNT NO.: NOT
                                                  AVAILABLE

2.401   COUNTY OF SANTA CLARA                        VARIOUS                                      UNDETERMINED UNDETERMINED
        FISCAL SERVICES
        PO BOX 1897                            ACCOUNT NO.: NOT
        SAN JOSE, CA 95109                        AVAILABLE

2.399   COUNTY OF SANTA CLARA                        VARIOUS                                      UNDETERMINED UNDETERMINED
        PARKS AND RECREATION DEPT
        70 W HEDDING ST E WING 2ND FL          ACCOUNT NO.: NOT
        SAN JOSE, CA 95110                        AVAILABLE

2.403   COUNTY OF SANTA CLARA                        VARIOUS                                      UNDETERMINED UNDETERMINED
        TAXES & COLLECTIONS
        1555 BERGER DR STE 300                 ACCOUNT NO.: NOT
        SAN JOSE, CA 95112-2716                   AVAILABLE

2.402   COUNTY OF SANTA CLARA                        VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF TAX AND
        COLLECTIONS                            ACCOUNT NO.: NOT
        70 W HEDDING ST                           AVAILABLE
        SAN JOSE, CA 95110

2.400   COUNTY OF SANTA CLARA                        VARIOUS                                      UNDETERMINED UNDETERMINED
        ROADS AND AIRPORTS
        DEPARTMENT                             ACCOUNT NO.: NOT
        101 SKYPORT DR                            AVAILABLE
        SAN JOSE, CA 95110-1302

2.409   COUNTY OF SANTA CRUZ                         VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY AUDITOR
        701 OCEAN STREET, ROOM 100             ACCOUNT NO.: NOT
        SANTA CRUZ, CA 95060                      AVAILABLE

2.406   COUNTY OF SANTA CRUZ                         VARIOUS                                      UNDETERMINED UNDETERMINED
        701 OCEAN ST #100
        SANTA CRUZ, CA 95060                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.405   COUNTY OF SANTA CRUZ                         VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 1817                            ACCOUNT NO.: NOT
        SANTA CRUZ, CA 95061                      AVAILABLE

2.404   COUNTY OF SANTA CRUZ                         VARIOUS                                      UNDETERMINED UNDETERMINED
        701 OCEAN ST RM 410
        SANTA CRUZ, CA 95060-4070              ACCOUNT NO.: NOT
                                                  AVAILABLE




                                              Page 40 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 41 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.407   COUNTY OF SANTA CRUZ                         VARIOUS                                      UNDETERMINED UNDETERMINED
        WEIGHTS AND MEASURES
        175 WESTRIDGE DR                       ACCOUNT NO.: NOT
        WATSONVILLE, CA 95076                     AVAILABLE

2.408   COUNTY OF SANTA CRUZ                         VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF PUBLIC WORKS
        701 OCEAN ST ROOM 100                  ACCOUNT NO.: NOT
        SANTA CRUZ, CA 95060                      AVAILABLE

2.413   COUNTY OF SHASTA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 991830                          ACCOUNT NO.: NOT
        REDDING, CA 96099-1830                    AVAILABLE

2.415   COUNTY OF SHASTA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF PUBLIC WORKS
        1855 PLACER ST                         ACCOUNT NO.: NOT
        REDDING, CA 96001                         AVAILABLE

2.416   COUNTY OF SHASTA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AIR QUALITY MGMT DIST
        1855 PLACER ST #101                    ACCOUNT NO.: NOT
        REDDING, CA 96001                         AVAILABLE

2.414   COUNTY OF SHASTA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF AGRICULTURE
        3179 BECHELLI LN #210                  ACCOUNT NO.: NOT
        REDDING, CA 96002                         AVAILABLE

2.412   COUNTY OF SHASTA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 880
        REDDING, CA 96099                      ACCOUNT NO.: NOT
                                                  AVAILABLE

2.411   COUNTY OF SHASTA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        SMART BUSINESS RESOURCE
        CENTER                                 ACCOUNT NO.: NOT
        1201 PLACE ST                             AVAILABLE
        REDDING, CA 96001

2.410   COUNTY OF SHASTA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLER
        1450 COURT STREET, SUITE 238           ACCOUNT NO.: NOT
        REDDING, CA 96001                         AVAILABLE

2.418   COUNTY OF SIERRA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 425
        DOWNIEVILLE, CA 95936                  ACCOUNT NO.: NOT
                                                  AVAILABLE




                                              Page 41 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 42 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.420   COUNTY OF SIERRA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER
        100 COURTHOUSE SQUARE, SUITE           ACCOUNT NO.: NOT
        14                                        AVAILABLE
        DOWNIEVILLE, CA 95936

2.417   COUNTY OF SIERRA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 376                             ACCOUNT NO.: NOT
        DOWNIEVILLE, CA 95936                     AVAILABLE

2.419   COUNTY OF SIERRA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        PO DRAWER D
        DOWNIEVILLE, CA 95936                  ACCOUNT NO.: NOT
                                                  AVAILABLE

2.421   COUNTY OF SISKIYOU                           VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLER-
        RECORDER                               ACCOUNT NO.: NOT
        311 FOURTH STREET                         AVAILABLE
        YREKA, CA 96097

2.422   COUNTY OF SISKIYOU                           VARIOUS                                      UNDETERMINED UNDETERMINED
        311 4TH ST
        YREKA, CA 96097                        ACCOUNT NO.: NOT
                                                  AVAILABLE

2.425   COUNTY OF SOLANO                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        600 TEXAS ST                           ACCOUNT NO.: NOT
        FAIRFIELD, CA 94533                       AVAILABLE

2.424   COUNTY OF SOLANO                             VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 957
        FAIRFIELD, CA 94533                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.423   COUNTY OF SOLANO                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR - CONTROLLER
        675 TEXAS STREET, SUITE 2800           ACCOUNT NO.: NOT
        FAIRFIELD, CA 94533                       AVAILABLE

2.426   COUNTY OF SOLANO                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLERS OFFICE
        675 TEXAS ST STE 2800                  ACCOUNT NO.: NOT
        FAIRFIELD, CA 94533                       AVAILABLE

2.431   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ATTN: ACCOUNTING
        600 ADMISTRATION DR RM 104 J           ACCOUNT NO.: NOT
        SANTA ROSA, CA 95403                      AVAILABLE




                                              Page 42 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 43 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.428   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        2300 COUNTY CENTER DR
        SANTA ROSA, CA 95403                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.429   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF GENERAL SERVICES
        2300 COUNTY CTR DR STE A200            ACCOUNT NO.: NOT
        SANTA ROSA, CA 95403                      AVAILABLE

2.435   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        585 FISCAL DR STE 100
        SANTA ROSA, CA 95403                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.433   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        775 ADMINISTRATION DR
        SANTA ROSA, CA 95403                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.430   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        PERMIT & RESOURCE
        MANAGEMENT DEPT                        ACCOUNT NO.: NOT
        2550 VENTURA AVE                          AVAILABLE
        SANTA ROSA, CA 95403-2829

2.434   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        ADM. SERVICES OFFICER I
        575 ADMINISTRATIVE DR., ROOM           ACCOUNT NO.: NOT
        104A                                      AVAILABLE
        SANTA ROSA, CA 95403

2.427   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF EMERGENCY SERVICES
        2300 COUNTY CENTER DR #221A            ACCOUNT NO.: NOT
        SANTA ROSA, CA 95403                      AVAILABLE

2.432   COUNTY OF SONOMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        % SONOMA COUNTY PROBATION
        CAMP                                   ACCOUNT NO.: NOT
        6201 EASTSIDE RD                          AVAILABLE
        FORESTVILLE, CA 95436

2.437   COUNTY OF STANISLAUS                         VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 770
        MODESTO, CA 95353-0770                 ACCOUNT NO.: NOT
                                                  AVAILABLE

2.436   COUNTY OF STANISLAUS                         VARIOUS                                      UNDETERMINED UNDETERMINED
        REVENUE DIVISION SUPERVISOR
        1010 10TH STREET, SUITE 5100           ACCOUNT NO.: NOT
        MODESTO, CA 95354                         AVAILABLE




                                              Page 43 of 60 to Schedule E/F Part 1

        Case: 19-30088          Doc# 900      Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 44 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.438   COUNTY OF STANISLAUS                         VARIOUS                                      UNDETERMINED UNDETERMINED
        1010 10TH ST
        MODESTO, CA 95353                      ACCOUNT NO.: NOT
                                                  AVAILABLE

2.440   COUNTY OF SUTTER                             VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLER
        463 SECOND STREET, ROOM 117            ACCOUNT NO.: NOT
        YUBA CITY, CA 95991                       AVAILABLE

2.441   COUNTY OF SUTTER                             VARIOUS                                      UNDETERMINED UNDETERMINED
        466 SECOND ST
        YUBA CITY, CA 95991                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.439   COUNTY OF SUTTER                             VARIOUS                                      UNDETERMINED UNDETERMINED
        COMMUNITY SERVICES DEPT
        1130 CIVIC CENTER BLVD STE A           ACCOUNT NO.: NOT
        YUBA CITY, CA 95993                       AVAILABLE

2.442   COUNTY OF TEHAMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 38
        RED BLUFF, CA 96080                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.443   COUNTY OF TEHAMA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CHIEF ADMINISTRATOR
        727 OAK STREET                         ACCOUNT NO.: NOT
        RED BLUFF, CA 96080                       AVAILABLE

2.444   COUNTY OF TRINITY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        PO DRAWER AK
        WEAVERVILLE, CA 96093                  ACCOUNT NO.: NOT
                                                  AVAILABLE

2.445   COUNTY OF TRINITY                            VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY AUDITOR CONTROLLER
        11 COURT STREET                        ACCOUNT NO.: NOT
        WEAVERVILLE, CA 96093                     AVAILABLE

2.446   COUNTY OF TULARE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        2800 WEST BURREL AVE
        VISALIA, CA 93291                      ACCOUNT NO.: NOT
                                                  AVAILABLE

2.447   COUNTY OF TULARE                             VARIOUS                                      UNDETERMINED UNDETERMINED
        CHIEF CLERK
        2800 WEST BURREL                       ACCOUNT NO.: NOT
        VISALIA, CA 93291                         AVAILABLE

2.450   COUNTY OF TUOLUMNE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        TUOLUMNE CNTY COMM RESRCES
        AGENCY                                 ACCOUNT NO.: NOT
        2 S GREEN ST                              AVAILABLE
        SONORA, CA 95370

                                              Page 44 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 45 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.449   COUNTY OF TUOLUMNE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY ADMINISTRATOR
        2 SOUTH GREEN STREET                   ACCOUNT NO.: NOT
        SONORA, CA 95370                          AVAILABLE

2.448   COUNTY OF TUOLUMNE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 3248                            ACCOUNT NO.: NOT
        SONORA, CA 95370                          AVAILABLE

2.455   COUNTY OF YOLO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        CLIMATE ACTION AND
        SUSTAINABILITY                         ACCOUNT NO.: NOT
        292 W BEAMER ST                           AVAILABLE
        WOODLAND, CA 95620

2.456   COUNTY OF YOLO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 1268
        WOODLAND, CA 95776                     ACCOUNT NO.: NOT
                                                  AVAILABLE

2.451   COUNTY OF YOLO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        MANAGER OF CA AND BUDGET
        625 COURT STREET, ROOM 102             ACCOUNT NO.: NOT
        WOODLAND, CA 95695                        AVAILABLE

2.454   COUNTY OF YOLO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        YOLO ENERGY WATCH
        PO BOX 1268                            ACCOUNT NO.: NOT
        WOODLAND, CA 95776                        AVAILABLE

2.453   COUNTY OF YOLO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        PLANNING AND PUBLIC WORKS
        DEPT                                   ACCOUNT NO.: NOT
        292 WEST BEAMER ST                        AVAILABLE
        WOODLAND, CA 95695

2.452   COUNTY OF YOLO                               VARIOUS                                      UNDETERMINED UNDETERMINED
        625 COURT ST RM 103
        WOODLAND, CA 95695                     ACCOUNT NO.: NOT
                                                  AVAILABLE

2.457   COUNTY OF YOLO STATE OF                      VARIOUS                                      UNDETERMINED UNDETERMINED
        CALIFORNIA
        PO BOX 1268                            ACCOUNT NO.: NOT
        WOODLAND, CA 95776                        AVAILABLE

2.462   COUNTY OF YUBA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        YUBA COUNTY TREASURER
        915 8TH ST #103                        ACCOUNT NO.: NOT
        MARYSVILLE, CA 95901                      AVAILABLE




                                              Page 45 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 46 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.463   COUNTY OF YUBA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        COUNTY TREASURER/TAX
        COLLECTOR                              ACCOUNT NO.: NOT
        915 8TH STREET, SUITE 103                 AVAILABLE
        MARYSVILLE, CA 95901

2.461   COUNTY OF YUBA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        YUBA COUNTY WEIGHTS &
        MEASURES                               ACCOUNT NO.: NOT
        915 8TH ST STE 127                        AVAILABLE
        MARYSVILLE, CA 95901

2.458   COUNTY OF YUBA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        915 8TH ST STE 117
        MARYSVILLE, CA 95901                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.460   COUNTY OF YUBA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL HEALTH DEPT
        915 8TH ST #123                        ACCOUNT NO.: NOT
        MARYSVILLE, CA 95901                      AVAILABLE

2.459   COUNTY OF YUBA                               VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        935 14TH ST                            ACCOUNT NO.: NOT
        MARYSVILLE, CA 95901-4129                 AVAILABLE

2.464   DEPARTMENT OF THE TREASURY                   VARIOUS                                      UNDETERMINED UNDETERMINED
        COMMONWEALTH OF VIRGINIA
        PO BOX 2478                            ACCOUNT NO.: NOT
        RICHMOND, VA 23218-2478                   AVAILABLE

2.465   FEDERAL ENERGY REGULATORY                    VARIOUS                                      UNDETERMINED UNDETERMINED
        COMMISSION
        PO BOX 979010                          ACCOUNT NO.: NOT
        ST LOUIS, MO 63197-9000                   AVAILABLE

2.466   FRANCHISE TAX BOARD                          VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 942857
        SACRAMENTO, CA 94257-0501              ACCOUNT NO.: NOT
                                                  AVAILABLE

2.467   FRANCHISE TAX BOARD                          VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 942867
        SACRAMENTO, CA 94267-0011              ACCOUNT NO.: NOT
                                                  AVAILABLE

2.470   FRANCHISE TAX BOARD                          VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 942857
        SACRAMENTO, CA 94257-0701              ACCOUNT NO.: NOT
                                                  AVAILABLE




                                              Page 46 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 47 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.468   FRANCHISE TAX BOARD                          VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 942857
        SACRAMENTO, CA 94257                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.469   FRANCHISE TAX BOARD                          VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 942867
        SACRAMENTO, CA 94267-2021              ACCOUNT NO.: NOT
                                                  AVAILABLE

2.471   FRESNO COUNTY TAX COLLECTOR                  VARIOUS                                      UNDETERMINED UNDETERMINED
        P.O. BOX 1247
        FRESNO, CA 93715                       ACCOUNT NO.: NOT
                                                  AVAILABLE

2.475   FUELCO LLC                                   VARIOUS                                      UNDETERMINED UNDETERMINED
        GREGORY F.X. DALY, COLLECTOR
        OF REVENUE                             ACCOUNT NO.: NOT
        1200 MARKET STREET, ROOM 410              AVAILABLE
        ST. LOUIS, MO 63103

2.474   FUELCO LLC                                   VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.473   FUELCO LLC                                   VARIOUS                                      UNDETERMINED UNDETERMINED
        MISSOURI DEPARTMENT OF
        REVENUE, TAXATION DIVISION             ACCOUNT NO.: NOT
        PO BOX 3000                               AVAILABLE
        JEFFERSON CITY, MO 65105

2.472   FUELCO LLC                                   VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 942857                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE

2.476   GLENN COUNTY TAX COLLECTOR-                  VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF FINANCE
        516 W. SYCAMORE STREET                 ACCOUNT NO.: NOT
        WILLOWS, CA 95988                         AVAILABLE

2.478   INTERNAL REVENUE SERVICE CTR                 VARIOUS                                      UNDETERMINED UNDETERMINED
        5045 E BUTLER AVE
        FRESNO, CA 93888                       ACCOUNT NO.: NOT
                                                  AVAILABLE

2.477   INTERNAL REVENUE SERVICE CTR                 VARIOUS                                      UNDETERMINED UNDETERMINED
        5045 E BUTLER AVE
        FRESNO, CA 93888                       ACCOUNT NO.: NOT
                                                  AVAILABLE




                                              Page 47 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 48 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.479   KERN COUNTY                                  VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL HEALTH
        2700 M ST #300                         ACCOUNT NO.: NOT
        BAKERSFIELD, CA 93301                     AVAILABLE

2.480   KERN COUNTY TAX COLLECTOR                    VARIOUS                                      UNDETERMINED UNDETERMINED
        1115 TRUXTUN AVENUE, 2ND
        FLOOR                                  ACCOUNT NO.: NOT
        BAKERSFIELD, CA 93301                     AVAILABLE

2.482   LAKE COUNTY                                  VARIOUS                                      UNDETERMINED UNDETERMINED
        255 N. FORBES ST
        LAKEPORT, CA 95453                     ACCOUNT NO.: NOT
                                                  AVAILABLE

2.481   LAKE COUNTY                                  VARIOUS                                      UNDETERMINED UNDETERMINED
        AIR QUALITY MANAGEMENT
        DISTRICT                               ACCOUNT NO.: NOT
        2617 S MAIN ST                            AVAILABLE
        LAKEPORT, CA 95453

2.483   LAKE COUNTY                                  VARIOUS                                      UNDETERMINED UNDETERMINED
        FAIR FOUNDATION- LCFF
        401 MARTIN ST                          ACCOUNT NO.: NOT
        LAKEPORT, CA 95453                        AVAILABLE

2.484   MADERA COUNTY TAX COLLECTOR                  VARIOUS                                      UNDETERMINED UNDETERMINED
        200 W 4TH STREET
        MADERA, CA 93637-3548                  ACCOUNT NO.: NOT
                                                  AVAILABLE

2.485   MARIPOSA COUNTY TAX                          VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        P.O. BOX 1450                          ACCOUNT NO.: NOT
        SUISUN CITY, CA 94585-4450                AVAILABLE

2.486   MERCED COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        OFFICE OF EMERGENCY SERVICES
        735 MARTIN LUTHER KING JR WAY          ACCOUNT NO.: NOT
        MERCED, CA 95340                          AVAILABLE

2.487   MERCED COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        2222 M ST                              ACCOUNT NO.: NOT
        MERCED, CA 95340                          AVAILABLE

2.488   MIDWAY POWER, LLC                            VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 942857                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE

2.489   MONTEREY COUNTY TAX                          VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        P.O. BOX 891                           ACCOUNT NO.: NOT
        SALINAS, CA 93902-0891                    AVAILABLE

                                              Page 48 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 49 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.490   MOUNTAIN HOUSE DISTRICT                      VARIOUS                                      UNDETERMINED UNDETERMINED
        ADMINISTRATIVE SERVICES
        DIRECTOR                               ACCOUNT NO.: NOT
        230 S STERLING DR, SUITE 100              AVAILABLE
        MOUNTAIN HOUSE, CA 95391

2.491   NAPA COUNTY                                  VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        1195 THIRD ST RM 108                   ACCOUNT NO.: NOT
        NAPA, CA 94559-3035                       AVAILABLE

2.492   NATURAL GAS CORPORATION OF                   VARIOUS                                      UNDETERMINED UNDETERMINED
        CALIFORNIA
        TAX DIVISION, ALASKA                   ACCOUNT NO.: NOT
        DEPARTMENT OF REVENUE                     AVAILABLE
        PO BOX 110420
        JUNEAU, AK 99811-0420

2.493   PACIFIC ENERGY CAPITAL IV, LLC               VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 942857                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE

2.497   PACIFIC GAS & ELECTRIC                       VARIOUS                                      UNDETERMINED UNDETERMINED
        COMPANY EMPLOYEES
        COMMUNITY FUND                         ACCOUNT NO.: NOT
        FRANCHISE TAX BOARD                       AVAILABLE
        PO BOX 94285
        SACRAMENTO, CA 94257

2.494   PACIFIC GAS & ELECTRIC                       VARIOUS                                      UNDETERMINED UNDETERMINED
        COMPANY EMPLOYEES
        COMMUNITY FUND                         ACCOUNT NO.: NOT
        REGISTRY OF CHARITABLE                    AVAILABLE
        TRUSTS
        PO BOX 903447
        SACRAMENTO, CA 94201

2.495   PACIFIC GAS & ELECTRIC                       VARIOUS                                      UNDETERMINED UNDETERMINED
        COMPANY EMPLOYEES
        COMMUNITY FUND                         ACCOUNT NO.: NOT
        SECRETARY OF STATE,                       AVAILABLE
        STATEMENT OF INFORMATION
        UNIT
        PO BOX 944230
        SACRAMENTO, CA 94244

2.496   PACIFIC GAS & ELECTRIC                       VARIOUS                                      UNDETERMINED UNDETERMINED
        COMPANY EMPLOYEES
        COMMUNITY FUND                         ACCOUNT NO.: NOT
        DEPARTMENT OF THE TREASURY                AVAILABLE
        INTERNAL REVENUE SERVICE
        CENTER
        OGDEN, UT 84201




                                              Page 49 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 50 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.498   PACIFIC GAS AND ELECTRIC &                   VARIOUS                                      UNDETERMINED UNDETERMINED
        SUBS
        DC OFFICE OF TAX & REVENUE             ACCOUNT NO.: NOT
        PO BOX 221                                AVAILABLE
        WASHINGTON, DC 20024

2.499   PACIFIC GAS AND ELECTRIC &                   VARIOUS                                      UNDETERMINED UNDETERMINED
        SUBS
        OFFICE OF TAX & REVENUE                ACCOUNT NO.: NOT
        1101 4TH ST SW, #270                      AVAILABLE
        WASHINGTON, DC 20024

2.501   PACIFIC GAS AND ELECTRIC                     VARIOUS                                      UNDETERMINED UNDETERMINED
        COMPANY
        WASHINGTON STATE,                      ACCOUNT NO.: NOT
        DEPARTMENT OF REVENUE                     AVAILABLE
        PO BOX 47464
        OLYMPIA, WA 98504

2.500   PACIFIC GAS AND ELECTRIC                     VARIOUS                                      UNDETERMINED UNDETERMINED
        COMPANY
        ODGEN SERVICE CENTER                   ACCOUNT NO.: NOT
        PO BOX 409101                             AVAILABLE
        OGDEN, UT 94409

2.502   PG&E CORPORATION & SUBS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        ARIZONA DEPARTMENT OF
        REVENUE                                ACCOUNT NO.: NOT
        PO BOX 29079                              AVAILABLE
        PHOENIX, AZ 85038-9079

2.505   PG&E CORPORATION & SUBS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.506   PG&E CORPORATION & SUBS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        TEXAS COMPTROLLER OF PUBLIC
        ACCOUNTS                               ACCOUNT NO.: NOT
        PO BOX 149348                             AVAILABLE
        AUSTIN, TX 78714

2.504   PG&E CORPORATION & SUBS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 942857                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE

2.508   PG&E CORPORATION & SUBS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        INTERNAL REVENUE SERVICE
        CENTER                                 ACCOUNT NO.: NOT
        1973 RULON WHILTE BLVD.                   AVAILABLE
        OGDEN, UT 84201




                                              Page 50 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 51 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.503   PG&E CORPORATION & SUBS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX SHELTER FILING
        PO BOX 398                             ACCOUNT NO.: NOT
        SACRAMENTO, CA 95812                      AVAILABLE

2.507   PG&E CORPORATION & SUBS                      VARIOUS                                      UNDETERMINED UNDETERMINED
        TEXAS COMPTROLLER OF PUBLIC
        ACCOUNTS                               ACCOUNT NO.: NOT
        PO BOX 149348                             AVAILABLE
        AUSTIN, TX 78714

2.509   PG&E CORPORATION ENERGY PAC                  VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.511   PG&E CORPORATION ENERGY PAC                  VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.510   PG&E CORPORATION ENERGY PAC                  VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 942587                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE

2.514   PG&E CORPORATION FOUNDATION                  VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.512   PG&E CORPORATION FOUNDATION                  VARIOUS                                      UNDETERMINED UNDETERMINED
        REGISTRY OF CHARITABLE
        TRUSTS                                 ACCOUNT NO.: NOT
        PO BOX 903447                             AVAILABLE
        SACRAMENTO, CA 94201

2.513   PG&E CORPORATION FOUNDATION                  VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 94285                           ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE

2.515   PG&E EMP STATE / LOCAL PAC                   VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.517   PG&E EMP STATE / LOCAL PAC                   VARIOUS                                      UNDETERMINED UNDETERMINED
        FRANCHISE TAX BOARD
        PO BOX 942587                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94257                      AVAILABLE


                                              Page 51 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 52 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.516   PG&E EMP STATE / LOCAL PAC                   VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF THE TREASURY
        INTERNAL REVENUE SERVICE               ACCOUNT NO.: NOT
        CENTER                                    AVAILABLE
        OGDEN, UT 84201

2.518   PG&E NATIONAL ENERGY GROUP,                  VARIOUS                                      UNDETERMINED UNDETERMINED
        LLC
        FRANCHISE TAX BOARD                    ACCOUNT NO.: NOT
        PO BOX 942857                             AVAILABLE
        SACRAMENTO, CA 94257

2.524   PLACER COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF FACILITY SERVICES
        11476 C AVE                            ACCOUNT NO.: NOT
        AUBURN, CA 95603                          AVAILABLE

2.520   PLACER COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        ENGINEERING DEPARTMENT
        3091 COUNTY CENTER DR STE 120          ACCOUNT NO.: NOT
        AUBURN, CA 95603                          AVAILABLE

2.519   PLACER COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLER
        10810 JUSTICE CENTER DR STE            ACCOUNT NO.: NOT
        100                                       AVAILABLE
        ROSEVILLE, CA 95678

2.523   PLACER COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        AIR POLLUTION CONTROL
        DISTRICT                               ACCOUNT NO.: NOT
        110 MAPLE ST                              AVAILABLE
        AUBURN, CA 95603

2.525   PLACER COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL HEALTH
        3091 COUNTY CENTER DR #180             ACCOUNT NO.: NOT
        AUBURN, CA 95603                          AVAILABLE

2.522   PLACER COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF PUBLIC WORKS
        3091 COUNTY CENTER DR STE 220          ACCOUNT NO.: NOT
        AUBURN, CA 95603                          AVAILABLE

2.521   PLACER COUNTY                                VARIOUS                                      UNDETERMINED UNDETERMINED
        AUDITOR-CONTROLLER ANDREW
        SISK CPA                               ACCOUNT NO.: NOT
        2970 RICHARDSON DR                        AVAILABLE
        AUBURN, CA 95603

2.526   SACRAMENTO COUNTY -                          VARIOUS                                      UNDETERMINED UNDETERMINED
        REPORTS & ACCOUNT SERVICES
        700 H STREET, ROOM 1710                ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE



                                              Page 52 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 53 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.527   SAN BENITO COUNTY TAX                        VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        440 FIFTH STREET, ROOM 107             ACCOUNT NO.: NOT
        HOLLISTER, CA 95023                       AVAILABLE

2.528   SAN FRANCISCO TAX COLLECTOR                  VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 7427
        SAN FRANCISCO, CA 94120-7427           ACCOUNT NO.: NOT
                                                  AVAILABLE

2.533   SAN JOAQUIN COUNTY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        222 E. WEBER AVE #701
        STOCKTON, CA 95202                     ACCOUNT NO.: NOT
                                                  AVAILABLE

2.531   SAN JOAQUIN COUNTY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        CHILD ABUSE PREVENTION
        540 N CALIFORNIA ST                    ACCOUNT NO.: NOT
        STOCKTON, CA 95202                        AVAILABLE

2.529   SAN JOAQUIN COUNTY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        JUNIOR SHOW & AUCTION
        COUNCIL                                ACCOUNT NO.: NOT
        PO BOX 30695                              AVAILABLE
        STOCKTON, CA 95213

2.530   SAN JOAQUIN COUNTY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        COMM DEVELOPMENT DEPART
        1810 E HAZELTON AVENUE                 ACCOUNT NO.: NOT
        STOCKTON, CA 95205                        AVAILABLE

2.532   SAN JOAQUIN COUNTY                           VARIOUS                                      UNDETERMINED UNDETERMINED
        ENVIRONMENTAL HEALTH DEPT
        1868 E HAZELTON AVE                    ACCOUNT NO.: NOT
        STOCKTON, CA 95205-6232                   AVAILABLE

2.534   SAN JOAQUIN COUNTY DEPT OF                   VARIOUS                                      UNDETERMINED UNDETERMINED
        PUBLIC WORKS
        PO BOX 1810                            ACCOUNT NO.: NOT
        STOCKTON, CA 95201                        AVAILABLE

2.535   SAN JOAQUIN COUNTY TAX                       VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        P.O. BOX 2169                          ACCOUNT NO.: NOT
        STOCKTON, CA 95201-2169                   AVAILABLE

2.536   SAN LUIS OBISPO CO TAX                       VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        COUNTY GOVERNMENT CTR #203             ACCOUNT NO.: NOT
        SAN LUIS OBISPO, CA 93408-2060            AVAILABLE

2.537   SAN MATEO COUNTY                             VARIOUS                                      UNDETERMINED UNDETERMINED
        TAX COLLECTOR
        PO BOX 8066                            ACCOUNT NO.: NOT
        REDWOOD CITY, CA 94063-0966               AVAILABLE

                                              Page 53 of 60 to Schedule E/F Part 1

        Case: 19-30088          Doc# 900      Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 54 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.538   SANTA CLARA COUNTY ROADS &                   VARIOUS                                      UNDETERMINED UNDETERMINED
        AIRPORT DEPT
        101 SKYPORT DR                         ACCOUNT NO.: NOT
        SAN JOSE, CA 95110-1302                   AVAILABLE

2.539   SISKIYOU COUNTY TAX                          VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        311 FOURTH STREET, ROOM 104            ACCOUNT NO.: NOT
        YREKA, CA 96097-2944                      AVAILABLE

2.540   SONOMA COUNTY TAX COLLECTOR                  VARIOUS                                      UNDETERMINED UNDETERMINED
        P.O. BOX 3879
        SANTA ROSA, CA 95402-3879              ACCOUNT NO.: NOT
                                                  AVAILABLE

2.541   SONOMA COUNTY WATER AGENCY                   VARIOUS                                      UNDETERMINED UNDETERMINED
        585 FISCAL DR STE 100
        SANTA ROSA, CA 95403                   ACCOUNT NO.: NOT
                                                  AVAILABLE

2.542   STANISLAUS COUNTY TAX                        VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        P.O. BOX 859                           ACCOUNT NO.: NOT
        MODESTO, CA 95353-0859                    AVAILABLE

2.556   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        HIGH-SPEED RAIL AUTHORITY
        770 L ST STE 620 MS 3                  ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE

2.553   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF PARKS AND
        RECREATION                             ACCOUNT NO.: NOT
        1416 9TH ST RM 1040                       AVAILABLE
        SACRAMENTO, CA 95814

2.552   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF PARKS AND RECREATION
        1416 9TH ST RM 1040                    ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE

2.551   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        707 3RD ST
        WEST SACRAMENTO, CA 95605              ACCOUNT NO.: NOT
                                                  AVAILABLE

2.549   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF TOXIC SUBSTANCES
        CONTROL                                ACCOUNT NO.: NOT
        1001 "I" ST                               AVAILABLE
        SACRAMENTO, CA 95812-0806




                                              Page 54 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 55 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.543   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF FISH AND GAME
        1416 9TH ST                            ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE

2.546   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF CONSUMER AFFAIRS
        PO BOX 942548                          ACCOUNT NO.: NOT
        WEST SACRAMENTO, CA 94258-                AVAILABLE
        0548

2.554   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF FORESTRY & FIRE
        PROTECTION                             ACCOUNT NO.: NOT
        PO BOX 997446                             AVAILABLE
        SACRAMENTO, CA 95899-7446

2.557   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        PO BOX 826276
        SACRAMENTO, CA 94230-6276              ACCOUNT NO.: NOT
                                                  AVAILABLE

2.545   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER
        PO BOX 1919                            ACCOUNT NO.: NOT
        SACRAMENTO, CA 95809                      AVAILABLE

2.548   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF WATER
        RESOURCES                              ACCOUNT NO.: NOT
        1416 NINTH ST                             AVAILABLE
        SACRAMENTO, CA 95814

2.555   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT INDUSTRIAL RELATIONS
        160 PROMENADE CIR STE 340              ACCOUNT NO.: NOT
        SACRAMENTO, CA 95834-2962                 AVAILABLE

2.547   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        CAL OSHA CRANE CERTIFIERS
        2000 E MCFADDEN AVE #203               ACCOUNT NO.: NOT
        SANTA ANA, CA 92705                       AVAILABLE

2.550   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF CONSERVATION
        801 K ST MS 22-15                      ACCOUNT NO.: NOT
        SACRAMENTO, CA 95814                      AVAILABLE

2.544   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF TRANSPORTATION
        PO BOX 168019                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 95816-8019                 AVAILABLE




                                              Page 55 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 56 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.558   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT
        HOUSING & COMMUNITY                    ACCOUNT NO.: NOT
        DEVELOPMENT                               AVAILABLE
        9342 TECH CENTER DR #550
        SACRAMENTO, CA 95826

2.559   STATE OF CALIFORNIA                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF
        GENERAL SERVICES                       ACCOUNT NO.: NOT
        PO BOX 989053                             AVAILABLE
        WEST SACRAMENTO, CA 95798-
        9053

2.562   STATE OF CALIFORNIA DMV                      VARIOUS                                      UNDETERMINED UNDETERMINED
        PFR SECTION UNIT 15
        SACRAMENTO, CA 94232-3200              ACCOUNT NO.: NOT
                                                  AVAILABLE

2.560   STATE OF CALIFORNIA DMV                      VARIOUS                                      UNDETERMINED UNDETERMINED
        RENEWAL
        PO BOX 942839                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94284-0839                 AVAILABLE

2.561   STATE OF CALIFORNIA DMV                      VARIOUS                                      UNDETERMINED UNDETERMINED
        MOTOR CARRIER PERMIT BRANCH
        PO BOX 932370                          ACCOUNT NO.: NOT
        SACRAMENTO, CA 94232-3700                 AVAILABLE

2.563   STATE OF CALIFORNIA MILITARY                 VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT
        CAMP SAN LUIS OBISPO                   ACCOUNT NO.: NOT
        10 SONOMA AVE BLDG 854                    AVAILABLE
        SAN LUIS OBISPO, CA 93405

2.564   STATE OF CONNECTICUT                         VARIOUS                                      UNDETERMINED UNDETERMINED
        OFFICE OF THE TREASURER
        PO BOX 150435                          ACCOUNT NO.: NOT
        HARTFORD, CT 06115-0435                   AVAILABLE

2.565   STATE OF FLORIDA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF FINANCIAL
        SERVICES                               ACCOUNT NO.: NOT
        PO BOX 6350                               AVAILABLE
        TALLAHASSEE, FL 32314-6350

2.566   STATE OF HAWAII                              VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF BUDGET
        PO BOX 150                             ACCOUNT NO.: NOT
        HONOLULU, HI 96810-0150                   AVAILABLE

2.567   STATE OF ILLINOIS                            VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURER
        PO BOX 19496                           ACCOUNT NO.: NOT
        SPRINGFIELD, IL 62794-9496                AVAILABLE


                                              Page 56 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 57 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.568   STATE OF INDIANA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        INDIANA ATTORNEY GENERALS
        OFFICE                                 ACCOUNT NO.: NOT
        35 SOUTH PARK BLVD                        AVAILABLE
        GREENWOOD, IN 46143

2.569   STATE OF LOUISIANA                           VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURY DEPARTMENT
        PO BOX 91010                           ACCOUNT NO.: NOT
        BATON ROUGE, LA 70821-9010                AVAILABLE

2.570   STATE OF MAINE TREASURER                     VARIOUS                                      UNDETERMINED UNDETERMINED
        39 STATE HOUSE STATION
        AUGUSTA, ME 04333-0039                 ACCOUNT NO.: NOT
                                                  AVAILABLE

2.571   STATE OF MONTANA                             VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF REVENUE
        PO BOX 5805                            ACCOUNT NO.: NOT
        HELENA, MT 59604-5805                     AVAILABLE

2.572   STATE OF NEVADA                              VARIOUS                                      UNDETERMINED UNDETERMINED
        OFFICE OF THE STATE
        TREASURER                              ACCOUNT NO.: NOT
        555 E WASHINGTON AVE STE 4200             AVAILABLE
        LAS VEGAS, NV 89101

2.573   STATE OF NEW JERSEY                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF TREASURY
        PO BOX 214                             ACCOUNT NO.: NOT
        TRENTON, NJ 08695-0214                    AVAILABLE

2.574   STATE OF NEW MEXICO                          VARIOUS                                      UNDETERMINED UNDETERMINED
        TAXATION & REVENUE
        DEPARTMENT                             ACCOUNT NO.: NOT
        PO BOX 25123                              AVAILABLE
        SANTA FE, NM 87504-5123

2.575   STATE OF NORTH CAROLINA                      VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF TREASURER
        3200 ATLANTIC AVE                      ACCOUNT NO.: NOT
        RALEIGH, NC 27604-1668                    AVAILABLE

2.576   STATE OF RHODE ISLAND AND                    VARIOUS                                      UNDETERMINED UNDETERMINED
        PROVIDENCE PLANTATIONS
        PO BOX 1435                            ACCOUNT NO.: NOT
        PROVIDENCE, RI 02901                      AVAILABLE

2.577   STATE OF SOUTH DAKOTA                        VARIOUS                                      UNDETERMINED UNDETERMINED
        OFFICE OF THE STATE
        TREASURER                              ACCOUNT NO.: NOT
        500 EAST CAPITOL AVE STE 212              AVAILABLE
        PIERRE, SD 57501-5070




                                              Page 57 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 58 of
                                                           61
PG&E Corporation                                                                             Case Number:        19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D   Offset    Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.578   STATE OF TENNESSEE                           VARIOUS                                      UNDETERMINED UNDETERMINED
        TREASURY DEPARTMENT
        PO BOX 198649                          ACCOUNT NO.: NOT
        NASHVILLE, TN 37219-8646                  AVAILABLE

2.580   STATE OF UTAH                                VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPT OF ENVIRONMENTAL
        QUALITY                                ACCOUNT NO.: NOT
        168 NORTH 1950 WEST                       AVAILABLE
        SALT LAKE CITY, UT 84114-4850

2.579   STATE OF UTAH                                VARIOUS                                      UNDETERMINED UNDETERMINED
        UNCLAIMED PROPERTY
        PO BOX 142321                          ACCOUNT NO.: NOT
        SALT LAKE CITY, UT 84111-2321             AVAILABLE

2.581   STATE OF WASHINGTON                          VARIOUS                                      UNDETERMINED UNDETERMINED
        DEPARTMENT OF REVENUE
        PO BOX 34053                           ACCOUNT NO.: NOT
        SEATTLE, WA 98124-1053                    AVAILABLE

2.582   SUTTER COUNTY TAX COLLECTOR                  VARIOUS                                      UNDETERMINED UNDETERMINED
        466 SECOND ST
        YUBA CITY, CA 95991                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.583   TAX COLLECTOR-BUTTE COUNTY                   VARIOUS                                      UNDETERMINED UNDETERMINED
        25 COUNTY CENTER DR
        OROVILLE, CA 95965-3384                ACCOUNT NO.: NOT
                                                  AVAILABLE

2.584   TAX COLLECTOR-LAKE COUNTY                    VARIOUS                                      UNDETERMINED UNDETERMINED
        255 N. FORBES ST #215
        LAKEPORT, CA 95453-4743                ACCOUNT NO.: NOT
                                                  AVAILABLE

2.585   TEHAMA TAX COLLECTOR                         VARIOUS                                      UNDETERMINED UNDETERMINED
        P.O. BOX 1150
        RED BLUFF, CA 96080                    ACCOUNT NO.: NOT
                                                  AVAILABLE

2.586   TRINITY TAX COLLECTOR                        VARIOUS                                      UNDETERMINED UNDETERMINED
        P.O. BOX 1297
        WEAVERVILLE, CA 96093-1297             ACCOUNT NO.: NOT
                                                  AVAILABLE

2.587   TULARE COUNTY TREASURER-TAX                  VARIOUS                                      UNDETERMINED UNDETERMINED
        COLLECTOR
        P.O. BOX 30329                         ACCOUNT NO.: NOT
        LOS ANGELES, CA 90030-0329                AVAILABLE




                                              Page 58 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10            Page 59 of
                                                           61
PG&E Corporation                                                                                 Case Number:      19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 1:      List All Creditors with PRIORITY Unsecured Claims

Creditor's Name, Mailing Address Including   Date Claim Was Incurred And     C U     D    Offset     Total Claim    Priority Amount
Zip Code                                           Account Number

Taxing Authorities

2.590   TUOLUMNE COUNTY                              VARIOUS                                       UNDETERMINED UNDETERMINED
        ECONOMIC DEVELOPMENT
        AUTHORITY                              ACCOUNT NO.: NOT
        99 N WASHINGTON ST                        AVAILABLE
        SONORA, CA 95370

2.588   TUOLUMNE COUNTY                              VARIOUS                                       UNDETERMINED UNDETERMINED
        2 S GREEN ST
        SONORA, CA 95370                       ACCOUNT NO.: NOT
                                                  AVAILABLE

2.589   TUOLUMNE COUNTY                              VARIOUS                                       UNDETERMINED UNDETERMINED
        CHAMBER OF COMMERCE
        222 S SHEPHERD                         ACCOUNT NO.: NOT
        SONORA, CA 95370                          AVAILABLE

2.591   US NUCLEAR REGULATORY                        VARIOUS                                       UNDETERMINED UNDETERMINED
        COMMISSION
        PO BOX 979051                          ACCOUNT NO.: NOT
        ST. LOUIS, MO 63197                       AVAILABLE

2.592   US SECURITIES AND EXCHANGE                   VARIOUS                                       UNDETERMINED UNDETERMINED
        COMMISSION
        100 F ST NE MS 6041B                   ACCOUNT NO.: NOT
        WASHINGTON, DC 20549                      AVAILABLE

2.593   YOLO COUNTY ENVIRONMENTAL                    VARIOUS                                       UNDETERMINED UNDETERMINED
        HEALTH
        292 W BEAMER ST                        ACCOUNT NO.: NOT
        WOODLAND, CA 95695                        AVAILABLE

                                                                     Taxing Authorities Total:      UNDETERMINED UNDETERMINED




                                              Page 59 of 60 to Schedule E/F Part 1

        Case: 19-30088         Doc# 900       Filed: 03/14/19         Entered: 03/14/19 22:42:10              Page 60 of
                                                           61
PG&E Corporation                                                                       Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 1:      List All Creditors with PRIORITY Unsecured Claims

  Total: All Creditors with PRIORITY Unsecured Claims                                     UNDETERMINED UNDETERMINED




                                               Page 60 of 60 to Schedule E/F Part 1

     Case: 19-30088           Doc# 900         Filed: 03/14/19         Entered: 03/14/19 22:42:10   Page 61 of
                                                            61
